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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON TALCUM Civil Action No. 3:16-md-
     POWDER PRODUCTS MARKETING,      2738-FLW-LHG
     SALES PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION            MDL No. 2738



     THIS DOCUMENT RELATES TO ALL
     CASES




     THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM OF
    LAW IN RESPONSE AND OPPOSITION TO DEFENDANTS JOHNSON &
    JOHNSON AND JOHNSON & JOHNSON CONSUMER, INC.’S MOTION
      TO EXCLUDE PLAINTIFFS’ EXPERTS’ OPINIONS RELATED TO
                    BIOLOGICAL PLAUSIBILITY
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            The Plaintiff Steering Committee (“PSC”) respectfully submits this

    memorandum in opposition to Defendants Johnson & Johnson and Johnson &

    Johnson Consumer, Inc.’s (together, “J&J”) motion to exclude the PSC’s experts’

    opinions related to biological plausibility (Dkt. No. 9736-1) (“Motion” or “Def.

    Mot.”). 1 For the foregoing reasons, this Court should deny J&J’s Motion.


    I.      INTRODUCTION

            J&J’s Motion misconstrues the standards for biological plausibility and

    Daubert. Biological plausibility asks “whether the hypothesized causal link is

    credible in light of what is known from science and medicine about the human body

    and the potentially offending agent.” 2 Proof of a mechanism, however, is not

    required under Daubert or to prove causation. 3 Rather, a biological plausibility

    opinion is admissible if, based on the scientific and medical literature, there is a




    1
     This opposition specifically relates to the biological plausibility opinions of Drs.
    Shawn Levy, Judith Zelikoff, Arch Carson, Daniel Clarke-Pearson, Sarah Kane,
    Anne McTiernan, Patricia Moorman, Laura Plunkett, Jack Siemiatycki, Sonal Singh,
    Rebecca Smith-Bindman, Ellen Blair Smith, and Judith Wolf. Mot. at 1 n.1.
    2
        Milward v. Acuity Specialty Pods. Group, 639 F.3d 11, 25 (1st Cir. 2011).
    3
      Sir Austin Bradford Hill, “The Environment and Disease: Association or
    Causation?,” Proc R Soc Med 58(5): 295-300, at p. 298 (1965) (attached as Exhibit
    115); Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d 77, 86 (1st
    Cir. 1998) (courts should not impose “a standard of scientific certainty . . . beyond
    that which Daubert envisions”).

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    plausible biological explanation for how the exposure of interest (here, perineal use

    of talcum powder) might result or contribute to the outcome (ovarian cancer).

            The PSC’s experts’ opinions on biological plausibility are reliable. Based on

    their review of the peer-reviewed scientific and medical literature in its totality, the

    PSC experts opine that it is biologically plausible for J&J’s talcum powder products 4

    to increase the risk of epithelial ovarian cancer 5 because: (1) talcum powder is

    capable of getting to the fallopian tubes and ovaries either through migration from

    the perineum or through inhalation, and (2) once there, talcum powder causes




    4
        Johnson’s Baby Powder and Shower-to-Shower.
    5
      It is customary to consider epithelial ovarian cancer, fallopian tube cancer, and
    primary peritoneal cancer as a single entity due to their common clinical behavior,
    risk factors, and pathogenesis. “The inclusion of FTC [fallopian tube cancer] within
    the ovarian epithelial cancer designation is generally accepted because of much
    evidence that points to a common Müllerian epithelium derivation and similar
    management of these three neoplasms.” National Cancer Institute PDQ (attached as
    Exhibit 113); see also American College of Obstetricians and Gynecologists
    (ACOG): Ovarian Cancer FAQs (attached as Exhibit 1); ACOG/Society of
    Gynecologic Oncologists (SGO) Practice Bulletin Hereditary Breast and Ovarian
    Cancer Syndrome (2017) (“Based on the contemporary understanding of the origins
    and management of ovarian cancer and for simplicity in this document, ovarian
    cancer also refers to fallopian tube cancer and primary peritoneal cancer.”) (attached
    as Exhibit 2); Rule 26 Expert Report of Judith Wolf, M.D. (“Wolf Rep.”) at 3
    (attached as Exhibit 3); Rule 26 Expert Report of Ellen Blair Smith, M.D. (“Smith
    Rep.”) at 2-3 (attached as Exhibit 4) ; Rule 26 Expert Report of Daniel L. Clarke-
    Pearson, M.D. (“Clarke-Pearson Rep.”) at 3 (attached as Exhibit 5); Rule 26 Expert
    Report of Arch Carson, M.D., Ph.D. (“Carson Rep.”) at 3 (attached as Exhibit 6);
    Rule 26 Expert Report of Rebecca Smith-Bindman, M.D. (“Smith-Bindman Rep.”)
    at 11 (attached as Exhibit 7).

                                               2
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    chronic inflammation and oxidative stress, which increases the risk of epithelial

    ovarian cancer.

             These opinions are not based on “magic[]” or “fantasy.” 6 These opinions are

    supported by the totality of long-standing peer-reviewed literature on migration of

    particulates within the female genital tract or through inhalation, the known

    carcinogenic constituents in talcum powder (including platy talc, asbestos, fibrous

    talc, heavy metals, fragrances, and other chemicals), and the known role

    inflammation and oxidative stress play in the pathogenesis of ovarian cancer. J&J’s

    Motion to exclude these opinions fails for several reasons.

             First, the PSC’s experts fully appreciate the existence of different subtypes of

    epithelial ovarian cancer to the extent relevant. However, because of their

    similarities, particularly with respect to etiology, J&J’s own experts and the

    scientific community often refer to epithelial ovarian cancer as one disease. Still, the

    PSC’s experts acknowledge and discuss the subtypes and differences among them,

    and in reviewing the literature and giving their opinions also distinguish among the

    subtypes, where indicated.

             Second, the PSC’s experts’ opinion that talcum powder can reach the

    fallopian tubes and ovaries when used on the perineum is based on the overwhelming

    body of peer-reviewed evidence that demonstrates that particulates readily migrate

    6
        Def. Mot. at 1, 3.

                                                 3
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    from the vagina to the fallopian tubes, ovaries, and peritoneal surfaces, 7 and when

    inhaled, can enter the bloodstream and lymphatic system and then travel to the

    ovaries.

          Confusing biological plausibility with some concept of “proof,” J&J ignores

    the relevant evidence, arguing that migration is impossible because there is no

    migration study looking precisely at the perineal application of talcum powder.

    Biological plausibility and Daubert do not require such proof. Given the

    overwhelming body of relevant evidence, the PSC’s experts reliably opine that

    migration can and does occur. Indeed, J&J’s own experts concede that based on the

    evidence, migration is possible. 8 J&J’s criticisms about individual migration studies

    go to the weight of the PSC’s experts’ opinions, not their admissibility.

          Third, the PSC’s experts’ opinion that talcum powder can cause chronic

    inflammation and oxidative stress, which lead to an increased risk of ovarian cancer,

    also is based on reliable peer-reviewed scientific evidence. The connection between


    7
     The peritoneum is the serous membrane that lines the cavity of the abdomen and
    covers abdominal organs.
    8
     March 27, 2019 Deposition of Kevin Holcomb M.D. (“Holcomb Dep.”) at 421:23-
    422:12 (“[I]f you’re saying is it possible, I’d have to say yes.”) (attached as Exhibit
    8); March 13, 2019 Deposition of Cheryl Saenz, M.D. (“Saenz Dep.”) at 209:7-14
    (“I do think that in terms of biologic plausibility, there is some data that there can be
    particulate matter that can make it to the ovaries, but I don't actually know one way
    or another if talc can do that.”) (attached as Exhibit 9); March 19, 2019 Deposition
    of Benjamin G. Neel, M.D., Ph.D. (“Neel Dep.”) at 270:2-8 (testifying that evidence
    on migration is “inconclusive”) (attached as Exhibit 10).

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    inflammation and cancer has been known and widely accepted for decades. The

    scientific literature also is clear that inflammation plays an important role in the

    pathogenesis of epithelial ovarian cancer through a mechanism of cell proliferation,

    oxidative stress, DNA damage, and gene mutations. Given talcum powder’s

    constituents and their documented ability to create an inflammatory response, the

    mechanism for increasing the risk of epithelial ovarian cancer is plausible.

          At most, J&J and its experts simply offer different opinions based on the same

    evidence and quibble with the PSC’s experts’ reliance on and interpretation of

    specific studies. These challenges go to the weight of the evidence and are dealt with

    on cross-examination, not exclusion under Daubert. 9

          Finally, J&J seeks to exclude Dr. Zelikoff’s opinions due to alleged

    plagiarism. J&J completely ignores the relevancy of explanations in Dr. Zelikoff’s

    expert report and fails to otherwise explain why a lack of quotations citing

    background information make the opinions of a well-qualified toxicologist

    unreliable. Dr. Zelikoff’s opinions on biological plausibility are well supported by

    reliable evidence and are her own. Her credibility should be determined by the jury.

          J&J’s Motion on biological plausibility should be denied in its entirety.

    II.   LEGAL STANDARDS ON BIOLOGICAL PLAUSIBILTY OPINIONS

    9
      Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596 (1993); Karlo v.
    Pittsburgh Glass Works, LLC, 849 F.3d 61, 81 (3d Cir. 2017); In re TMI Litigation,
    193 F.3d 613, 664, 665 (3d Cir. 1999); Milward, 639 F.3d at 22.

                                              5
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             The PSC incorporates the Plaintiffs’ Steering Committee’s Omnibus Brief

    Regarding Daubert Legal Standard and Scientific Principles for Assessing General

    Causation 10 and highlights the following important points of particular relevance to

    the outcome J&J’s motion on biological plausibility.

             Biological plausibility asks whether given what we know about the disease in

    question and possible pathogenic mechanisms, does the association make sense. 11

    Biological plausibility is not the same as biological proof or certainty. 12 Here, the

    question is whether given what we know about epithelial ovarian cancer and talcum

    powder (which includes platy talc, asbestos, fibrous talc, heavy metals, and other

    chemicals), 13 does ovarian cancer from perineal use of talcum powder make sense.


    10
         Dkt. No. 9732 (hereinafter “PSC’s Omnibus Brief”).
    11
      Hill (1965), at p. 298; Oleckno, “Epidemiology: Concepts and Methods,” (1st ed.
    2008) at p. 189 (attached as Exhibit 117); Rothman et al., “Modern Epidemiology,”
    (3d Ed. 2008) at p. 28-29 (attached as Exhibit 116); Milward, 639 F.3d at 25.
    12
      In re Abilify (Aripiprazole) Prods. Liab. Litig., 299 F. Supp. 3d 1291, 1308 (N.D.
    Fla. 2018) (“[B]iological plausibility is not the same as biological certainty.”);
    Michael D. Green, et al., Reference Manual on Scientific Evidence, at 604-05 (3d
    Ed. 2011); April 9, 2019 Deposition of Gregory B. Diette, M.D. (“Diette Dep.”) at
    419:4-12 (attached as Exhibit 11) (J&J’s expert testifying that biological plausibility
    “doesn’t have to be proved”).
    13
      See The Plaintiff Steering Committee’s Opposition Defendants’ Motion to Exclude
    Plaintiffs’ Experts’ Asbestos-Related Opinions, The Plaintiff Steering Committee’s
    Opposition to Defendants’ Motion to Exclude Plaintiffs’ Experts’ Opinions
    Regarding Alleged Heavy Metals and Fragrances in Johnson’s Baby Powder and
    Shower to Shower, and The Plaintiff Steering Committee’s Opposition to
    Defendants’ Motion to Exclude Plaintiffs’ Experts’ General Causation Opinions, all
    concurrently filed herewith.

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          The PSC’s experts’ opinions on whether this is biologically plausible are

    admissible so long as they are based on reliable scientific and medical knowledge

    and reasoning. 14 However, the PSC’s experts “need not prove the biological means

    by which [talcum powder] acts in the body.” 15 Instead, “where a hypothesis has been

    deemed plausible and credible in the relevant medical literature. . .it is reasonable to

    admit that hypothesis.” 16 The PSC’s experts are “not required to show that a

    mechanism has been definitely established. Instead [they] just need[] to show that

    the methodology [they] used to arrive at [their] opinion is sufficiently reliable.” 17

    Reliance on reliable scientific literature is a reliable method for determining




    14
      Allison, 184 F.3d at 1319 n.23 (“While scientific testimony need not be known to
    a certainty, Daubert does require that assertions be derived from scientific
    knowledge.”); Milward, 639 F.3d at 25.
    15
      In re Abilify, 299 F. Supp. 3d at 1308; In re Neurontin, 612 F. Supp. 2d at 149 In
    re PPA Prods. Liab. Litig., 289 F. Supp. 2d at 1247; Fosamax, 645 F. Supp. 2d at
    183; In re Fosamax Prods. Liab. Litig., No. 11-5304, 2013 WL 1558697, *3 (D.N.J.
    Apr. 10, 2013) (Pisano, J.) (fact that mechanism had not “been proven with human
    data” was not fatal to opinion).
    16
       Bartoli v. Novartis Pharm., 2014 WL 1515870, *7 (M.D. Pa. Apr. 17, 2014); see
    also In re Zoloft Prods. Liab. Litig., 26 F. Supp. 3d 466, 469-70 (E.D. Pa. 2014)
    (finding a plausible mechanism of action where Zoloft “may” produce the adverse
    outcomes); In re Fosamax, 2013 WL 1558697 at *3 (defining biological plausibility
    as “coherence with existing knowledge”).
    17
      In re Fosamax, 2013 WL 1558697 at *6 (citing Milward, 639 F.3d at 15); In re
    Roundup Prods. Liab. Litig., No. 16-MD-02741-VC, 2018 WL 3368534, at *17
    (N.D. Cal. July 10, 2018).

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    biological plausibility. 18 Ultimately, it is the jury’s role to determine whether the

    proposed mechanism is correct, not the court’s. 19

          While biological plausibility is one of nine considerations in a Bradford Hill

    general causation analysis, it is not required. As Sir Bradford Hill explained: “It will

    be helpful if the causation we suspect is biologically plausible. But this is a feature

    I am convinced we cannot demand. What is biologically plausible depends upon the

    biological knowledge of the day…In short, the association we observe may be one

    new to science or medicine and we must not dismiss it too light-heartedly as just too

    odd.” 20 Accordingly, “[w]hen mechanistic evidence is presented it can greatly

    strengthen a causal inference, but when it is absent it does not necessarily undermine




    18
      In re Fosamax, 2013 WL 1558697 at *6; In re Roundup, 2018 WL 3368534 at
    *17; Karlo, 849 F.3d at 81; In re Avandia Mktg. Sales Practices and Prods. Liab.
    Litig., No. 2007-MD-1871, 2011 WL 13576, at *9 (E.D. Pa. Jan. 4, 2011) (admitting
    expert testimony where “hypotheses about plausible mechanisms are based on
    scientific data about both the links between Avandia and lipid profiles and the
    connections between lipid profiles and outcomes”).
    19
      The standard for reliability “is ‘lower than the merits standard for correctness.’”
    Karlo, 849 F.3d at 81 (quoting In re TMI Litig., 193 F.3d at 665).
    20
      Hill (1965), at p. 298; see also Milward, 639 F.3d at 25 (finding district court erred
    when “it conflated the scientific question of biological plausibility with the legal
    question of probability”); In re Fosamax, 2013 WL 1558697 at *6 (noting that “[o]ne
    or more of the factors may be absent even where a causal relationship exists and…no
    factor is a sine qua non of causation”).

                                               8
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    the inference.” 21 However, “[t]he fact that the mechanism remains unclear does not

    call the reliability of the opinion into question.” 22

           The PSC’s experts’ biological plausibility opinions readily meet these

    standards.

    III.   BIOLOGICAL PLAUSIBILITY OPINIONS AT ISSUE

           The PSC’s experts opine that there is a biologically plausible mechanism by

    which talcum powder causes ovarian cancer because (1) talcum powder can migrate

    or translocate to the fallopian tubes, ovaries and peritoneal surfaces from perineal

    use, and when inhaled, can enter the bloodstream and lymphatic system and then

    travel to the ovaries, and (2) once there, induce chronic inflammation and oxidative

    stress, which increases the risk of ovarian cancer. The PSC’s experts’ opinions are

    reliable and well-supported by the following medical and scientific literature. Each

    of the PSC’s experts’ opinions on biological plausibility is based on and consistent

    with the following evidence.




    21
      In re Denture Cream Prods. Liab. Litig., 795 F. Supp. 2d 1345, 1356 (S.D. Fla.
    2011).
    22
      In re PPA Prods. Liab. Ligi., 289 F. Supp. 2d 1230, 1247 (W.D. Wash. 2003); see
    also In re Fosamax Prods. Liab. Litig., 645 F. Supp. 2d 164, 183 (S.D.N.Y. 2009)
    (“That the mechanism remains unknown does not mean that the one proposed by the
    [plaintiffs’ expert] is not widely acceptable as plausible.”); In re Neurontin Mktf.
    Sales Practices and Prods. Liab. Litig., 612 F. Supp. 2d 116, 149 (D. Mass. 2009)
    (biological plausibility supported causation opinion despite “robust debate in the
    scientific community” on the proposed mechanism).

                                                 9
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                  A.    THE MEDICAL AND SCIENTIFIC LITERATURE
                        SUPPORT THE OPINION THAT TALCUM POWDER
                        CAN MIGRATE TO THE OVARIES, FALLOPIAN
                        TUBES, AND PERITONEAL SURFACES

           There are two biological mechanisms by which talcum powder reaches the

    ovaries, fallopian tubes, and peritoneum to cause ovarian cancer. The first is through

    migration from perineal application.

           It is generally accepted in the medical and scientific literature that substances

    can migrate upward from the vagina to the fallopian tubes, ovaries, and peritoneum.

    J&J’s own experts concede that once in the vagina, particulate matter can make it to

    the ovaries. 23

           One known biological mechanism for transporting particles upward from the

    vagina to the fallopian tubes and ovaries is uterine peristalsis – rhythmic contractions

    in the female genital tract that occur regularly through a woman’s menstrual cycle. 24

    23
       Saenz Dep. at 209:7-14; id. at 217:4-5 (“There is a way that you can pass up
    through the cervix once something is in the vagina.”); Holcomb Dep. at 421:23-
    422:12; Neel Dep. at 270:2-8.
    24
       Jones, Richard E. and Kristen H. Lopez, “Human Reproductive Biology,” at 162
    (4th Ed. 2006) (“[D]ead sperm reach the oviduct at about the same time as do live
    sperm. Thus, sperm tail beating probably is not important during sperm transport
    through the uterus, so it must be the muscle contraction and movement of cilia in the
    female reproductive tract that facilitate sperm transport.”) (attached as Exhibit 114);
    Kissler et al., “Uterine contractility and directed sperm transport assessed by
    hysterosalpingoscintigraphy (HSSG) and intrauterine pressure (IUP) measurement,”
    Acta Obstet Gynecol Scand 83: 369-374, 369-70 (2004) (recognizing that
    contractions occur through a woman’s cycle) (attached hereto as Exhibit 12); Kunz
    et al., “The Uterine Peristaltic Pump Normal and Impeded Sperm Transport within
    the Female Genital Tract,” The Fate of the Male Germ Cell 49: 267-277, at p. 269
                                               10
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    “During menstruation, contraction waves with the lowest frequency are directed

    towards the cervix, while during other phases of the cycle, with the highest frequency

    and intensity during the periovulatory phase, cervico-fundal peristalsis [upward

    contraction] prevails.” 25 Peristalsis has been observed to occur at a rate of 1.2-2.8

    contractions per minute, depending on the phase of a woman’s cycle. 26 Additionally,

    retrograde menstruation – the upward movement of menstrual blood through the

    fallopian tubes – is well-documented and occurs in up to 90% of women. 27



    (1997) (“Since the velocity of sperm movement does not itself account for covering
    such a long distance through the female genital tract within a few minutes, rapid
    sperm transport is considered a passive phenomenon and has been ascribed to uterine
    contractions.”) (attached hereto as Exhibit 13); Zervomanolakis et al., “Physiology
    of Upward Transport in the Human Female Genital Tract,” Ann. N.Y. Acad. Sci.
    1101: 1-20, at p. 1 (2007) (discussing uterus and fallopian tubes as “functionally
    united peristaltic pump”) (attached hereto as Exhibit 14).
    J&J’s gynecologic oncologist expert Dr. Holcomb concedes genital peristalsis
    exists. Holcomb Dep. at 437:23-438:11; see also Wolf Rep. at 10; Clarke-Pearson
    Rep. at 7; Rule 26 Report of Laura M. Plunkett, Ph.D., DABT (“Plunkett Rep.”) at
    28, 35-36 (attached as Exhibit 15); January 9, 2019 Deposition of Ellen Blair Smith,
    M.D. (“Smith Dep.”) at 262:21-263:7 (attached as Exhibit 16); Carson Rep. at 7;
    Smith-Bindman Rep. at 35.
    25
         Kissler et al. (2004) at pp. 369-370.
    26
       Kunz et al. (1997) at p. 269; Henderson et al., “The Demonstration of the
    Migration of Talc from the Vagina and Posterior Uterus to the Ovary in the Rat,”
    Env. Res. 40: 247-250, at p. 247 (1986) (“The rhythmic muscular contractions of the
    uterus that occur spontaneously and the illicit currents established by the epithelial
    cells of the genital tract may contribute to the translocation process.”) (attached as
    Exhibit 17).
    27
      Halme et al., “Retrograde Menstruation in Healthy Women and in Patients with
    Endometriosis,” Obst. & Gyn. 64: 151-154, at p. 153 (1984) (observing retrograde
    menstruation in 90% of study patients and concluding that “the fallopian tubes play
                                                 11
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          It is not surprising then, that upward migration of particulates through the

    female genital tract occurs. For example, cornstarch from surgical gloves used

    during gynecological examinations was found in the cervical canal, uterine cavity

    and fallopian tubes within 24 hours and up to 4 days after the exam. 28 The study

    authors concluded that “[t]his study has pointed out a retrograde migration of starch

    also in humans after a gynecological examination with powdered gloves[;]

    [c]onsequently, powder or any other potentially harmful substances that can migrate

    from the vagina should be avoided.” 29




    an important role as conduits for menstrual blood”) (attached hereto as Exhibit 18);
    Blumenkrantz et al., “Retrograde Menstruation in Women Undergoing Chronic
    Peritoneal Dialysis,” Obstetrics & Gynecology 57(5): 667-670, at p. 669 (1981)
    (“[R]etrograde bleeding regularly occurs with menstruation in most if not all women
    on peritoneal dialysis and quite possibly in most menstruating women in the general
    population.”) (attached hereto as Exhibit 19); see also Wolf Rep. at 10; Plunkett
    Rep. at 28; Smith Dep. at 318:13-319:6 (“a majority of women experience retrograde
    menstruation”).
    28
       Sjosten et al., “Retrograde migration of glove powder in the human female genital
    tract,” Human Reprod. 19: 991-995, at p. 995 (2004) (attached hereto as Exhibit
    20).
    29
      Id. at pp. 991; id. at 994 (concluding that the study in humans confirmed what had
    been previously observed in animals); see also, e.g., Rule 26 Expert Report of
    Patricia G. Moorman, MSPH, Ph.D. (“Moorman Rep.”) at 33 (attached as Exhibit
    21); Clarke-Pearson Rep. at 8; Smith Rep. at 16; Wolf Rep. at 11; Carson Rep. at 7;
    Smith-Bindman Rep. at 35; Plunkett Rep. at 28; Rule 26 Expert Report of Anne
    McTiernan, M.D., Ph.D. (“McTiernan Rep.”) at 59 (attached hereto as Exhibit 22);
    Rule 26 Expert Report of Sonal Singh (“Singh Rep.”) at 57 (attached as Exhibit 23);
    Rule 26 Expert Report of Judith Zelikoff (“Zelikoff Rep.”) at 12 (attached as Exhibit
    24).

                                             12
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           Similarly, particulate radioactive material was observed in the ovaries and

    fallopian tubes of 14 of 21 study patients within 24 hours after being placed in the

    vagina. 30 The study authors noted that “[i]f transit can take place so easily, it is

    probably the same for many chemical substances used for hygienic, cosmetic, or

    medicinal purposes, many of which may have potential carcinogenic or irritating

    properties.” 31

           Carbon particles also were observed in the fallopian tubes of two of three

    patients within 28 and 34 minutes, respectively, after being placed in the posterior

    fornix. 32 The study authors concluded that the data confirm that “[c]ontractions of




    30
       Venter and Iturralde, “Migration of a Particulate Radioactive Tracer from the
    Vagina to the Peritoneal Cavity and Ovaries,” S. Afr. Medi. J. 55: 917-919, at pp.
    918, 919 (1979) (attached hereto as Exhibit 25). The radioactive material was placed
    in the vagina with the patient laying on her back with her buttocks slightly elevated
    and her legs closed; the patient remained in this position for two hours; images were
    obtained 4-24 hours later. Id. at pp. 917-918; see also, e.g., Rule 26 Expert Report
    of Jack Siemiatycki MSc, Ph.D. (“Siemiatycki Rep.”) at 30 (attached as Exhibit 26).
    31
       Id. at p. 919; see also Iturralde and Venter, “Hysterosalpingo-Radionuclide
    Scintigraphy (HERS),” Sem. in Nuc. Med. 11(4): 301-314, at pg. 301 (1981)
    (Exhibit 27) (“Access of talc to the peritoneal cavity is most likely through the
    vagina.”); Zervomanolakis et al. (2007) at pp.6-7 (labeled particles were detected in
    the uterine cavity within two minutes of placement in vagina and “[u]ptake into the
    uterus” of all patients, and in one or both fallopian tubes of 79% of patients).
    32
       Egli and Newton, “The Transport of Carbon Particles in the Human Female
    Reproductive Tract,” Fert. & Ster. 12: 151-155, at p. 153 (1961) (attached hereto as
    Exhibit 28). The carbon particles were suspended in dextran and placed at the
    posterior fornix as the women laid downward at a 15° angle and were given oxytocin
    to aid in contractions. Id. at p. 152. Upward migration resulted. Id. at 153.

                                             13
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    the muscle of the uterus or other reproductive organs” encourage upward migration

    of sperm and other particulates. 33

             Although these studies did not specifically look at whether particulates

    applied to the perineum (as opposed to the vagina) can migrate to the ovaries or

    fallopian tubes, they are highly relevant and instructive because it is universally

    accepted in the medical and scientific literature that “[t]alc placed on the perineum

    may enter the vagina and ascend to the upper genital tract.” 34 That is because normal

    33
         Id. at 154.
    34
       Folkins, A., Elke A Jarboe, Jonathan L. Hecht, Michael G. Muto, and Christopher
    P. Crum, “Assessing Pelvic Epithelial Cancer Risk and Intercepting Early
    Malignancy,” Diagnostic Gynecologic and Obstetric Pathology, at p. 846 (3d Ed.
    2017) (attached as Exhibit 29); see also Health Canada, Draft Screening
    Assessment, Talc, Environment and Climate Change Canada (Dec. 2018) at p. 21
    (“This evidence of retrograde transport supports the biological plausibility of the
    association between perineal talc application and ovarian exposure. . . .”) (attached
    as Exhibit 30); Schildkraut et al., “Association between Body Powder Use and
    Ovarian Cancer: The African American Cancer Epidemiology Study (AACES),”
    Cancer Epidemiol. Biomarkers Prev. 25: 1411-1417, at p. 1415 (2016) (“As most
    high-grade serous EOC, but not nonserous subtypes, arise in the fallopian tube, it is
    possible that direct exposure through the genital tract specifically effects this disease
    subtype.”) (attached as Exhibit 31); Houghton et al., “Perineal Powder Use and Risk
    of Ovarian Cancer,” JNCI 106: 1-6, at p. 1 (2014) (“Talc particulates from perineal
    application have been shown to migrate to the ovaries.”) (attached as Exhibit 32);
    Langseth et al., “Perineal use of talc and risk of ovarian cancer,” J. Epidemiol.
    Comm. Health 62: 358-360, at p. 358 (2008) (“A majority of women experience
    retrograde menstruation; this suggests a mechanism by which talc can travel through
    the female production tract to the ovaries.”) (attached as Exhibit 33); Henderson et
    al., at p. 247 (1986) (“Direct communication between the external environment and
    the peritoneal cavity exists in the female via her genital tract.”); Merritt et al.,
    “Talcum powder, chronic pelvic inflammation and NSAIDs in relation to risk of
    epithelial ovarian cancer,” Int. J. Cancer, 122: 170-176, at p. 174 (2008) (“[I]t has
    been demonstrated experimentally that talc particles can reach the ovaries in humans
                                               14
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    activities such as walking, vaginal intercourse, use of tampons, going to the

    bathroom, and exercise, can easily move particulates from the perineum to the

    vagina. 35 In addition, the particles studied in the migration literature are similar in

    size and other chemical and morphologic features to those found in talcum powder

    products. 36

             As a result, the FDA states that the “potential for particulates to migrate from

    the perineum and vagina to the peritoneal cavity is indisputable.” 37 Similarly, the

    International Agency for Research on Cancer (“IARC”) states: “Consumer products

    (e.g. cosmetics, pharmaceuticals) are the primary sources of exposure to talc for the




    and rodents as the result of talc use in the pelvic region….”) (attached as Exhibit
    34); See also Clarke-Pearson Rep. at 7; Wolf Rep. at 10.
    35
       January 7, 2019 Deposition of Dr. Judith Wolf (“Wolf Dep.”), at 194:7-195:20
    (attached as Exhibit 35); Huncharek et al., “Use of cosmetic talc on contraceptive
    diaphragms and risk of ovarian cancer: a meta-analysis of nine observational
    studies,” Euro. J. of Cancer Prev. 16(5): 422-429, at p. 423 (2007) (recognizing that
    “in the experimental setting translocation of talc particles to the human ovary can
    occur with deliberate or inadvertent manipulations of patients in the supine
    position”) (attached as Exhibit 36); Heller et al., “Asbestos Exposure and Ovarian
    Fiber Burden,” Am. J. of Indust. Med. 29: 435-439, at p. 438 (1996) (proposing
    sexual intercourse as a “transporting vector for asbestos fibers” to the ovaries)
    (attached as Exhibit 37).
    36
       Health Canada Assessment at p. 9 (recognizing that the particles studied in Egli et
    al. (1961), DeBoer, “Transport of Particulate Matter Through the Human Female
    Genital Tract”, J. Reprod. Fert. 28, 295-297 (1972) (attached as Exhibit 38), and
    Venter and Iturralde (1979) are “the same size as talc.”).
    37
         April 1, 2014 FDA Response to Citizen’s Petition (attached as Exhibit 39).

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    general population. Inhalation and dermal contact (i.e. through perineal application

    of talcum powder) are the primary routes of exposure.” 38

          J&J’s biological plausibility expert Dr. Michael Birrer also agrees that “[t]he

    vagina serves as a portal to the internal reproductive tract,” the vagina “is a

    reproductive conduit in all respects, connecting the external environment to the

    internal genitalia,” and the reproductive tract is “in most women, an open conduit.”39

    Dr. Birrer also testified in previous litigation consistent with the PSC’s experts here:

                 Any material – whether it be talc, heavy metals, asbestos,
                 whatever – can migrate from the perineum to the ovaries
                 through the reproductive tract. There’s an anatomical
                 conduit. So it’s not like it’s blocked. Theoretically, it could
                 happen. 40

          Pathological studies also confirm the presence of talc and asbestos

    (constituents of talcum powder) in human ovarian cells and lymph nodes, further

    supporting the opinion that particulates such as talcum powder can and do migrate




    38
       IARC Monographs on the Evaluation of Carcinogenic Risks to Humans, “Arsenic,
    Metals, Fibres, and Dusts Volume 100 C A Review of Human Carcinogens,” (2012)
    at 232 (hereinafter, “IARC 2012”) (relevant portions attached as Exhibit 40).
    39
      Ex. 9 to Birrer Dep. (attached hereto as Exhibit 41); March 29, 2019 Deposition
    of Michael Birrer, M.D., Ph.D. (“Birrer Dep.”) at 124:24-125:23, 129:21-130:3
    (attached as Exhibit 42); see also Clarke-Pearson Rep. at 7; Wolf Rep. at 10; Smith
    Rep. at 17.
    40
     September 25, 2018 Deposition of Michael Birrer, M.D., Brower, et al. v. Johnson
    & Johnson, Inc. et al., at 96:22-97:8 (attached as Exhibit 43).

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    within the human body. 41 In Henderson et al. 1971, talc particles were found “deep

    within” or “embedded” in the human tissue samples from 10 out of 13 ovarian

    tumors, 12 out of 21 cervical tumors, and 5 out of 21 normal ovaries. 42

          In two separate studies by Heller et al. in 1996, talc was identified in human

    ovarian tissue samples of women who reported perineal talcum powder use 43 and

    asbestos was identified in 9 of 13 women that were exposed to asbestos. 44 The


    41
      Gertig et al., “Prospective Study of Talc Use and Ovarian Cancer,” J. of the Nat’l
    Cancer Inst. 92(3): 249-252, at p. 252 (2000) (“Talc is able to migrate through the
    genital tract and gain access to the ovaries because talc fibers have been detected in
    benign and malignant ovarian tissue, although no relation between reported levels
    of talc exposure and ovarian talc counts has been observed.”) (attached as Exhibit
    44); Cramer et al., “Genital Talc Exposure and Risk of Ovarian Cancer,” Int. J.
    Cancer 81: 351-356, at p. 356 (1999) (“It has been demonstrated that inert particles
    contaminating the vagina can reach the ovaries [and] [t]alc has been found in both
    normal and malignant ovarian tissue.”) (attached as Exhibit 45); Langseth et al.
    (2008) at p. 358 (“From pathological studies it is known that particles and fibres that
    enter the body can migrate to distant organs.”); Siemiatycki Rep. at 65; Moorman
    Rep. at 33; Smith-Bindman Rep. at 35; Plunkett Rep. at 28; Wolf Rep. at 11; Clarke-
    Pearson Rep. at 8; Singh Rep. at 57.
    42
     Henderson et al., “Talc and Carcinoma of the Ovary and Cervix,” The Journal of
    Obstetrics and Gynaecology 78: 266-272, at pp. 266-268 (1971) (attached as
    Exhibit 46).
    43
       Heller et al., “The relationship between perineal cosmetic talc usage and ovarian
    talc particle burden,” Am. J. Obstet. Gynecol. 174: 1507-1510, at p. 1509 (1996)
    (attached as Exhibit 47); Zelikoff Rep. at 13-14; Wolf Rep. at 10; Clarke-Pearson
    Rep. at 8; McTiernan Rep. at 58-59; Moorman Rep. at 33; Siemiatycki Rep. at 65;
    Plunkett Rep. at 29; Singh Rep. at 57; Rule 26 Expert Report of Sarah Kane, M.D.
    (“Kane Rep.”) at 14 (attached as Exhibit 48).
    44
      Heller et al. “Asbestos Exposure and Ovarian Fiber Burden” American Journal of
    Industrial Medicine 29:435-439 (1996), at p. 437 (attached as Exhibit 49); see also
    Mostafa et al., “Foreign Body Granulomas in Normal Ovaries,” Obstetrics and
    Gynecology 66: 701-702, at p. (1985) (of all women operated on at Johns Hopkins
                                              17
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    authors concluded that “[t]he detection of talc in all the ovaries demonstrates that

    talc can reach the upper genital tract” 45 from perineal use and that “women with a

    positive exposure history had asbestos detected in their ovaries more frequently.” 46

             Talc particles also have been found in human pelvic lymph nodes of women

    that used talcum powder on their genitals. Cramer et al. 2007 identified talc in three

    of four lymph nodes of a women who reported using talcum powder in her genital

    area daily for 30 years. 47 Very recently, McDonald et al. 2019 examined pelvic

    lymph nodes of users and non-users of genital talcum powder and found “the level

    of talc in nodal tissue at least five times higher in those who used talc genitally

    compared to those who had not,” confirming “earlier observations that talc particles,

    from perineal exposure, can and do migrate to pelvic lymph nodes.” 48 The migration




    Hospital for pelvic disease, 9% had magnesium silicate (commonly found in talc and
    asbestos) granulomas in their ovaries and another 9% had “histologic entities that
    were very similar”) (attached as Exhibit 50).
    45
         Heller et al. (1996-talc) at pp. 1509-1510.
    46
         Heller et al. (1996-asbestos) at p. 439.
    47
     Cramer et al., “Presence of Talc in Pelvic Lymph Nodes of a Woman with Ovarian
    Cancer and Long-Term Genital Exposure to Cosmetic Talc,” Obstetrics &
    Gynecology 110(2): 498-501, at p. 499 (2007) (attached as Exhibit 51 ); see also
    Kane Rep. at 14; McTiernan Rep. at 59; Moorman Rep. at 33.
    48
      McDonald et al., “Correlative polarizing light and scanning electron microscopy
    for the assessment of talc in pelvic region lymph nodes,” Ultrastructural Pathology
    43: 13-27, at pp. 21, 24 (2019) (attached as Exhibit 52).

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    literature together with the presence of talc and asbestos in ovarian tissue and lymph

    nodes sufficiently supports the migration of talcum powder within the genital tract. 49

             Finally, the scientific literature supports inhalation as another route of

    exposure to talcum powder. 50 Talcum powder’s size and consistency puts women

    who use it at risk for inhalation exposure. 51 Health Canada measured talcum powder

    particles to determine whether they are within the respirable range and concluded

    that “all of the particles were within the inhalable range” and “the median particle

    size was within the respirable range. . . .” 52

             In its 2012 Monograph on asbestos, IARC concluded that all forms of

    asbestos, including asbestiform talc or fibrous talc, are Group 1 carcinogens and




    49
      Animal studies provide further support for the migration of talcum powder through
    the genital tract. See Keskin, et al., “Does long-term talc exposure have a
    carcinogenic effect on the female genital system of rats? An experimental pilot
    study,” Arch Gynecol Obstet 280: 925-931, at p. 926 (2009) (attached as Exhibit
    53); Henderson et al. (1986) at p. 247.
    50
       See Wolf Rep. at 11; Clarke-Pearson Rep. at 8; Zelikoff Rep. at 14-17; Singh Rep.
    at 57-58; Plunkett Rep. at 27-28; Moorman Rep. at 33; Siemiatycki Rep. at 65; Kane
    Rep. at 14.
    51
       Steiling et al., “Principles for the safety evaluation of cosmetic powders,” Tox.
    Letters 297: 8-18, at p. 12 (2018) (recognizing that loose powders, including baby
    powder, “could generate such a dust cloud or atmosphere during product handling
    or application, and therefore there is the potential for inhalation exposure”) (attached
    as Exhibit 54); Zelikoff Rep. at 15 (discussing particle size).
    52
         Health Canada Draft Assessment at p. 23.

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    cause ovarian cancer through inhalation. 53 IARC stated “that a causal association

    between exposure to asbestos and cancer of the ovary was clearly established” based

    on occupational exposure studies and further supported by environmental exposure

    studies. 54 In so concluding, IARC recognized that inhalation through use of talcum

    powder on the perineum is a primary route of exposure. 55

             Additionally, IARC acknowledged that inhaled asbestos travels to other parts

    of the body through the lymphatic system. 56 Asbestos and fibrous talc fibers can

    migrate across the diaphragm through the peritoneal cavity and penetrate the ovaries,

    and once fibers have entered the interstitium, they also have access to the vascular

    and lymphatic systems. 57 Accordingly, the evidence shows that inhaled asbestos and




    53
      IARC 2012 at 219, 232, 256, 280; Diette Dep. at 391:16-392:4 (IARC concluded
    asbestos causes ovarian cancer).
    54
      Id. at 256. Importantly, IARC “considered the possibility that cases of peritoneal
    mesothelioma may have been misdiagnosed as ovarian cancer” but found
    insufficient evidence of misclassification. Id.
    55
         Id. at 232.
    56
       IARC 2012 at 280 (“The route of translocation of asbestos fibres from the lungs
    to distant sites is unknown, although lymphatic translocation of amosite fibres
    deposited in the lungs has been shown in experimental animals.”); see also Cramer
    et al. (2007) (talc found in lymph nodes).
    57
     Kane et al., “Mechanisms of Fibre Carcinogenesis,” IARC Scientific Publications
    No. 140, at pp. 12, 25 (1996) (attached as Exhibit 55).

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    fibrous talc (which are contained in talcum powder) can reach the peritoneal cavity

    and ovaries and contribute to the development of ovarian cancer. 58

                 B.     THE MEDICAL AND SCIENTIFIC LITERATURE
                        SUPPORT THE OPINION THAT TALCUM POWDER
                        CAUSES    CHRONIC     INFLAMMATION      AND
                        OXIDATIVE STRESS THAT LEADS TO AN INCREASED
                        RISK OF OVARIAN CANCER

          Once talcum powder gets to the ovaries, fallopian tubes, or peritoneum the

    scientific evidence reveals that it elicits an inflammatory response and induces

    oxidative stress, which increases the risk of ovarian cancer through a well described

    process that ultimately results in DNA damage and genetic mutations.

          Numerous peer-reviewed studies have concluded that talcum powder causes

    an inflammatory response that increases the risk of ovarian cancer. 59 As Gates et al.

    58
       Health Canada Draft Assessment at p. 22 (“There is a potential for inhalation
    exposure to talc powder during the use of certain self-care products (e.g., cosmetics,
    natural health products, non-prescription drugs formulated as loose powders).”);
    Cramer et al. (2007) (finding talc in lymph nodes suggests migration through
    inhalation); IARC 2012 at 280; Wolf Rep. at 11 (concluding that “inhalation of these
    particles is another recognized route of exposure” and citing IARC 2012, Longo et
    al. 2017, Steiling (2018), and Cramer (2007)); Clarke-Pearson Rep. at 8 (concluding
    that “inhalation is another possible mechanism” and citing IARC 2012 and Steiling
    (2018)); Zelikoff Rep. at 14-17; Singh Rep. at 57-58; Plunkett Rep. at 27-28;
    Siemiatycki Rep. at 65; Kane Rep. at 14.
    59
        See, e.g., Penninkilampi, et al., Perineal Talc Use and Ovarian Cancer,
    Epidemiology 29: 41–49, 45 (2018) (“If chronic inflammation due to ascending
    foreign bodies is indeed the mechanism by which talc is associated with increased
    ovarian cancer, then these results fit the picture.”) (attached as Exhibit 56); Mills et
    al., “Perineal talc exposure and epithelial ovarian cancer risk in the Central Valley
    of California,” Int’l J. Cancer 112(3): 458-464, at p. 458 (2004) (“Collectively, these
    studies point to a possible etiologic role of talc in ovarian cancer via an inflammatory
                                              21
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    (2008) explained: “Normal ovarian cells treated with talc are more likely to undergo

    cell proliferation and neoplastic transformation, and cellular generation of reactive

    oxygen species increases with increasing exposure to talc.” 60 Similarly, Health

    Canada concluded, “[t]here is support for an association of inflammation and

    increased risk of ovarian cancer.” 61

          Balkwill, a world-renowned cancer researcher identified talcum powder use

    as an inflammatory stimulus related to ovarian cancer in 2001. 62 Although J&J




    process at the site of the ovarian epithelium.”) (attached as Exhibit 57); Wu et al.,
    “Markers of inflammation and risk of ovarian cancer in Los Angeles County,” Int.
    J. Cancer 124: 1409-1415, at p. 1414 (2009) (“Our findings on talc and
    endometriosis are consistent with previous findings and are compatible with the
    hypothesis that these factors increase the risk of ovarian and that inflammation may
    be a common pathway.”) (attached as Exhibit 58) ; Merritt et al. (2008), at p. 170
    (“Indeed the most consistent evidence linking inflammation with ovarian cancer
    comes from the many reports that use of talc in the perineal region increases ovarian
    cancer risk.”); Taher et al., “Systematic Review and Meta-Analysis of the
    Association between Perineal Use of Talc and Risk of Ovarian Cancer,” unpublished
    at p. 26 (2018) (“Chronic inflammatory response and alteration in local
    immunogenicity are possible mechanisms” for talcum powder causing ovarian
    cancer”) (attached as Exhibit 59).
    60
       Gates et al., “Talc use, variants of the GSTM1, GSTT1, and NAT2 genes and risk
    of epithelial ovarian cancer,” Cancer Epidemiol Biomarkers Prev. 17(9): 2436-2444,
    at p. 2443 (2008) (attached as Exhibit 60).
    61
       Health Canada Draft Assessment at p. 18 (“With respect to talc specifically, local
    irritation leading to an inflammatory response is one of the possible mechanisms of
    tumour progression that is frequently hypothesized…There is support for an
    association of inflammation and increased risk of ovarian cancer.”).
    62
     Balkwill and Mantovi (2001), “Inflammation and cancer: back to Virchow?” The
    Lancet 357: 539-545 at p. 539, Table 1 (identifying “[p]elvic inflammatory
                                             22
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    claims this study is “outdated,” 63 a citation search on Google Scholar reveals that

    the article has been cited over 2300 times since 2015, providing solid evidence that

    it is certainly not considered outdated by the scientific community. Moreover,

    numerous researchers subsequently have opined that talcum powder is an

    inflammatory mediator that contributes to ovarian cancer. 64

             The science supports these conclusions. First, the link between chronic

    inflammation and ovarian cancer is well-supported. 65 “[D]espite being a designed


    disease/talc/tissue remodeling” as “[i]nflammatory stimulus” that are associated
    with ovarian cancer) (emphasis added) (attached as Exhibit 61).
    63
         Def. Mot. at 62, n.152.
    64
         See supra n.59.
    65
      See, e.g., Balkwill, F. and A. Mantovani, , at p. 539 (2001) (recognizing that as far
    back as 1863, inflammatory cells (leukocytes) were identified in tumor tissue); id.
    (“increased risk of malignancy is associated with the chronic inflammation caused
    by chemical and physical agents”) Coussens, L. and Zena Werb, “Inflammation and
    Cancer,” Nature 420: 860-867, at Table 1 (2002) (listing “[p]elvic inflammatory
    disease, chronic cervicitis” as pathological conditions associated with “[o]varian
    carcinoma, cervical/anal carcinoma”) (attached as Exhibit 62); Okada, F., “Beyond
    foreign-body induced carcinogenesis: Impact of reactive oxygen species derived
    from inflammatory cells in tumorigenic conversion and tumor progressions,” Int. J.
    Cancer 121: 2364-2372, at p. 2364 (2007) (“[T]umor development and progression
    are accelerated inevitably by inflammation caused from foreign bodies, and that
    reactive oxygen species derived from inflammatory cells are one of the most
    important genotoxic mediators to accelerate the process.”) (attached as Exhibit 63);
    Liou and Storz, “Reactive oxygen species in cancer,” Free Radical Research
    44:479-496, at p. 479 (2010) (“Elevated rates of reactive oxygen species (ROS) have
    been detected in almost all cancers, where they promote many aspects of tumour
    developments and progression.”) (attached as Exhibit 64); Grivennikov et al.,
    “Immunity, Inflammation, and Cancer,” Cell. 140(6): 883-988, at p. 883 (2010) (“A
    role for inflammation in tumorigenesis is now generally accepted, and it has become
    evidence that an inflammatory microenvironment is an essential component of all
                                              23
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    response to eliminate pathogens and other agents harmful to the host, the

    inflammation when deregulated or inappropriately maintained has the potential to

    cause injury, necrosis, and malignant transformation.” 66 “Chronic inflammation is

    induced by biological, chemical, and physical factors and is in turn associated with

    an increased risk of several human cancers.” 67




    tumors, including some which a direct causal relationship with inflammation is not
    yet proven.”) (attached as Exhibit 65); Crusz and Balkwill, “Inflammation and
    cancer: advances and new agents,” Nature 12: 584-596, at p. 584 (2015) (“Chronic,
    dysregulated, persistent, and unresolved inflammation is associated with an
    increased risk of malignant disease.”) (attached as Exhibit 66); Reuter et al.,
    “Oxidative stress, inflammation, and cancer: How are they linked?” Free Radic Biol
    Med. 49(11): 1603-1616 (2010) (recognizing that oxidative stress and chronic
    inflammation increase the risk of cancer) (attached as Exhibit 67); Kiraly et al.,
    “Inflammation, DNA Damage and Mutations In Vivo,” PLO Genetics 11: 1-24 at p.
    2 (2015) (attached as Exhibit 68); Trabert et al., “Pre-diagnostic levels of
    inflammation markers and risk of ovarian cancer in the Prostate, Lung, Colorectal
    and Ovarian Cancer (PLCO) Screening Trial,” Gynecol Oncol. 135(2): 297-304, at
    pp. 298, 309 (2014) (“Epidemiological evidence implicates chronic inflammation as
    a central mechanism in the pathogenesis of ovarian cancer….Our study provides
    additional evidence that inflammation plays an important roles in ovarian
    carcinogenesis.”) (attached as Exhibit 69); National Academic of Sciences,
    Engineering, and Medicine (2016), Ovarian cancers: Evolving paradigms in
    research and care, Washington DC: The National Academic Press. (attached as
    Exhibit 70).
    66
      Fernandes et al., “The Role of the Mediators of Inflammation in Cancer
    Development,” Pathol. Oncol. Res. 21: 527-534, at p. 527 (2015) (attached as
    Exhibit 71).
    67
      Reuter et al. (2010) at p. 2; Crusz and Balkwill (2015) at p. 584 (“Almost 20% of
    human cancers are related to chronic inflammation caused by infections, exposure
    to irritants or autoimmune disease.”); Coussens and Werb (2002) at p. 4.

                                             24
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             Chronic inflammation is associated with various stages of cancer

    development, including initiation, growth, and metastasis. 68 All cancers are caused

    by genetic mutations, including epithelial ovarian cancer. 69 Chronic inflammation

    leads to genetic mutations through cell proliferation, oxidative stress, and DNA

    damage. 70 Inflammatory environments contain cytokines and chemokines that

    contribute to cancer growth. 71 Inflammatory environments also generate reactive

    oxygen species (“ROS”) and reactive nitrogen species (“RNS”) that are actively

    mutagenic and cause DNA damage. 72


    68
         Balkwill and Mantovi (2001), at p. 539; Reuter et al. (2010) at p. 5.
    69
      Clarke-Pearson Dep. at 92:16-21 (attached as Exhibit 72); Rule 26 Expert Report
    of Shawn Levy, Ph.D. (“Levy Rep.”) at 3 (“[C]ancer is caused by changes
    (mutations) to the DNA within cells.”) (attached as Exhibit 73).
    70
       See Coussens and Werb (2002), at p. 4 (“Functionally, many promoters, whether
    directly or indirectly, induce cell proliferation, recruit inflammatory cells, increase
    production of reactive oxygen species leading to oxidative DNA damage, and reduce
    DNA repair.”); Okada (2007) at p. 2369 (“Inflammatory environments due to the
    existence of foreign body cause a variety of biological responses as they contain
    increased growth/survival factors, chemotactic cytokines (chemokines), matrix
    metalloproteases, adhesion molecules, extracellular matrix, inflammatory mediators
    (i.e., histamine, eicosanoids, inflammatory cytokines and proteases, DNA-damage-
    promoting agents (i.e., ROS and RNS) and augmented angiogenesis.”); Fernandes
    et al. (2015), at p. 528 (“[I]t is well established that chronic inflammation is strongly
    associated with several human cancers, since it leads to the release of pro-
    inflammatory cytokines, and other immunomodulatory, creating a favorable
    microenvironment for tumor progression and metastasis.”).
    71
         Coussens and Werb (2002), at p. 4; Okada (2007) at p. 2369.
    72
       Yan et al., “Molecular analysis of genetic instability,” Cancer 512: 15-28, at p. 16
    (2009) (inflammation induces ROS which causes “genetic aberrations and leads to
    transformation”) (attached as Exhibit 74); Hanahan, D. and Robert A. Weinberg,
                                                25
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          This inflammation cascade is shown to occur in the pathogenesis of epithelial

    ovarian cancer. 73 The tumor environment in which epithelial ovarian cancer

    develops has a broad spectrum of pro-inflammatory cytokines and chemokines. 74

    “At sites of inflammation, epithelial cells are exposed to increased levels of



    “Hallmarks of Cancer: The Next Generation,” Cell 144: 646-674, at p. 659 (2011)
    (“[I]nflammatory cells can release chemicals, notable reactive oxygen species, that
    are actively mutagenic for nearby cancer cells, accelerating their genetic evolution
    toward states of heightened malignancy.”) (attached as Exhibit 75); Okada (2007)
    at p. 2369; Clarke-Pearson Rep. at 4; Wolf Rep. at 12; Smith Rep. at 17; Levy Rep.
    at 11; Singh Rep. at 58; Zelikoff Rep. at 22-24; Siemiatycki Rep. at 65.
    73
       Savant et al., “The Role of Inflammation and Inflammatory Mediators in the
    Development, Progression, Metastasis, and Chemoresistance of Epithelial Ovarian
    Cancer,” Cancers 10, 251: 1-30., at Figure 1 (2018) (“Unresolved, chronic
    inflammation is a critical risk factor in [ovarian] tumor initiation.”) (attached as
    Exhibit 76); Ness, Roberta B. and Carrie Cottreau, “Possible Role of Ovarian
    Epithelial Inflammation in Ovarian Cancer,” J. of the Nat’l Cancer Inst. 91: 1459-
    1467, at p. 1463 (1999) (attached as Exhibit 77); JNJ 00000704 (Sept. 30, 2004 Fax
    from Luzenac Director of Product Safety to Bill Ashton from JNJ discussing Ness
    as offering “some compelling evidence in support of the ‘migration’ hypothesis”)
    (attached as Exhibit 78); Saed et al., “Updates on the role of oxidative stress in the
    pathogenesis of ovarian cancer,” Gynecologic Oncology 145: 595-602, at p. 596-97
    (2017) (attached as Exhibit 79); Shan, W. and Jinsong Liu, “Inflammation: A hidden
    path to breaking the spell on ovarian cancer,” Cell Cycle 8(19): 3107-3111, at p.
    3110 (2009) (“Increasing evidence suggests that inflammation contributes
    significantly to the etiology of EOC.”) (attached as Exhibit 80); Saed, Morris and
    Fletcher (2018), “New Insights into the Pathogenesis of Ovarian Cancer: Oxidative
    Stress,” Ovarian Cancer – From Pathogenesis to Treatment Chapter 4 (attached as
    Exhibit 81).
    74
       Freedman et al., “Peritoneal inflammation – A microenvironment for Epithelial
    Ovarian Cancer (EOC),” J. of Translational Med. 2: 1-10, at p. 4 (2004) (attached
    as Exhibit 82); Shan and Liu (2009), at p. 3110 (“The tumor milieu in which EOC
    develops has been described as one enriched with a broad spectrum of pro-
    inflammatory cytokines and chemokines.”)

                                             26
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    inflammatory mediators such as reactive oxygen species [ROS], cytokines,

    prostaglandins, and growth factors that contribute to increased cell division, and

    genetic and epigenetic changes.” 75

             The following from Savant et al. 2018 depicts the inflammatory environment

    whereby chronic inflammation from talcum powder exposure and other possible

    factors expose the ovary to ROS production, oxidative stress, cytokines and growth

    factors, generating an inflammatory response that results in additional and repeated

    ROS and cytokines:




    75
         Savant et al. (2018), at p.1.

                                             27
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             Furthermore, studies in which generation of ROS was inhibited showed cell

    death to proceed normally, 76 further supporting the role of ROS (and thus,

    inflammation) in increased cell growth and cancer progression. Myeloperoxidase

    also is released by epithelial ovarian cancer cells in response to inflammation and is

    indicated to play a role in the progression of carcinogenesis by promoting cell

    death. 77 Inhibiting myeloperoxidase likewise leads to normal cell death. 78




    76
       Jiang, Z., Nicole M. Fletcher, Rhouba Ali-Fehmi, Michael P. Diamond, Husam
    M. Abu-Soud, Adnan R. Munkarah, and Ghassan M. Saed, “Modulation of redox
    signaling promotes apoptosis in epithelial ovarian cancer cells,” Gynecol Oncol.
    122(2): 1-17, at p. 8 (2011) (attached as Exhibit 83); see also Belotte et al. 2014,
    “The Role of Oxidative Stress in the Development of Cisplatin Resistance in
    Epithelial Ovarian Cancer,” Reproductive Sciences 21(4): 503-508, at p. 505-506
    (2014) (attached as Exhibit 84).
    77
       Fletcher, N., Zhonglian Jiang, Rhouba Ali-Fehmi, Nancy K. Levin, Jimmy
    Belotte, Michael A. Tainsky, Michael P. Diamond, Hasam M. Abu-Soud, and
    Ghassan M. Saed, “Myeloperoxidase and free iron levels: Potential biomarkers for
    early detection and prognosis of ovarian cancer,” Cancer Biomarkers 10:267-275,
    at p. 268 (2011) (attached as Exhibit 85); Saed et al., “Myeloperoxidase serves as a
    redox switch that regulates apoptosis in epithelial ovarian cancer,” Gynecol Onco.
    116(2): 1-14, at p. 6 (2010) (attached as Exhibit 86).
    78
         Fletcher, Saed et al. (2011), at p. 268.

                                                    28
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          Second, asbestos and fibrous talc are known carcinogens that cause ovarian

    cancer. 79, J&J’s own experts agree that talc and asbestos cause chronic inflammation

    and that asbestos is carcinogenic. 80

          Additionally, in vitro and in vivo studies have shown that talc and asbestos

    cause inflammation and oxidative stress in human and animal cells. 81 In vitro studies


    79
      IARC 2012 at pp. 219, 232, 256, 280; see also Reid et al., “Gynecologic and Breast
    Cancers in Women After Exposure to Blue Asbestos in Wittenoom,” Cancer
    Epidemiology, Biomarkers & Prevention 18: 140-147 (2009) (attached as Exhibit
    87). For a more detailed description, see the Plaintiffs’ Steering Committee’s
    Memorandum In Response And Opposition To Johnson & Johnson And Johnson &
    Johnson Consumer Inc.’s Motion To Exclude Plaintiffs’ Experts’ Opinions
    Regarding Alleged Heavy Metals And Fragrances In Johnson’s Baby Powder And
    Shower-To-Shower and The Plaintiff Steering Committee’s Memorandum of Law in
    Response and Opposition to Defendant’s Johnson & Johnson and Johnson &
    Johnson Consumer Inc.’s Motion to Exclude the Plaintiffs’ Experts’ Asbestos-
    Related Opinions, both of which are being filed simultaneously and are incorporated
    herein.
    80
      Holcomb Dep. at 174:11-18 (concedes that talc causes chronic inflammation); see
    also Huncharek et al., (2007) at p. 427 (“If one is exposed to a mixture of talc and
    asbestos, it is reasonable to expect a carcinogenic effect as it contains a known
    carcinogen.”).
    81
       Radic et al., “Immunosuppression induced by talc granulomatosis in the rat,” Clin.
    Exp. Immunol. 73: 316-321 (1988) (talc granulomas initiated whole-animal immune
    suppression in rats) (attached as Exhibit 88); National Toxicology Program,
    “Toxicology and Carcinogenesis Studies of Talc,” U.S. Dept. of Health and Human
    Servs., No. 421 at pp. 11, 56 (1993) (in inhalation study of talc “[t]here was clear
    evidence of carcinogenic activity of talc in female” rats and finding “principal toxic
    lesions associated with inhalation exposure to the same concentrations of talc in rats
    included chronic granulomatous inflammation”) (attached as Exhibit 89); Keskin et
    al. (2009) at p. 926 (foreign body reaction, infection and increased inflammatory
    cells were found in all rats exposed to talc); Kahn et al., “Nano-talc Stabilized TNF-
    m-RNA I Human Macrophages,” J of Biomedical Nanotechnology 7: 112-113, at
    p.113 (2011) (“Observations clearly demonstrated the inflammatory potential of
                                             29
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    also document inflammatory and pro-carcinogenic biologic effects in cell cultures

    exposure to talcum powder. These studies include Shukla 82 (demonstrating

    genotoxicity in both asbestos and nonfibrous talc), Buz’Zard 83 (demonstrating

    aberrant ROS [reactive oxygen species] and neoplastic transformation), Akhtar 84




    [nano talc] particles which might be at least partial and potential mechanism in talc
    mediated pathogenicity in the exposed population.”) (attached as Exhibit 90); Ghio
    et al., “Disruption of Iron Homeostasis in Mesothelial Cells after Talc Pleurodesis,”
    Am J Respi Cell Mol Biol 46: 80-86, at p. 80 (2012) (“[E]xposure to talc was
    associated with a time-dependent and concentration-dependent generation of
    oxidants in both cells types. The expression of proinflammatory mediators was also
    increased after in vitro exposures of mesothelial and airway epithelial cells to talc.”)
    (attached as Exhibit 91); Akhtar et al., “Cytotoxicity and Apoptosis Induction by
    Nanoscale Talc Particles from Two Different Geographical Regions in Human Lung
    Epithelial Cells,” Environmental Tox 394-406, at p. 404 (2012) (talc particles
    “significantly induced cytotoxicity, oxidative stress, and apoptosis in human lung
    epithelial cells”) (attached as Exhibit 92); Levy Rep. at 14; Smith Rep. at 17; Clarke-
    Pearson Rep. at 4; Wolf Rep. at 12; Zelikoff Rep. 24-25; Plunkett Rep. at 42-43;
    Moorman Rep. at 34; Singh Rep. at 59; Siemiatycki Rep. at 65; McTiernan Rep. at
    60-61; Carson Rep. at 5.
    82
      Shukla, Arti, Maximilian B. MacPherson, Jedd Hillegass, Maria E. Ramos-Nino,
    Vlada Alexeeva, Pamela M. Vacek, Jeffrey P. Bond, Harvey I. Pass, Chad Steele,
    and Brooke T. Mossman, “Alterations in Gene Expression in Human Mesothelial
    Cells Correlate with Mineral Pathogenicity,” American Journal of Respiratory Cell
    and Molecular Biology 41:114-123 (2009) (attached hereto as Exhibit 93).
    83
      Buz’Zard and Lau, “Pycnogenol reduces Talc-induced Neoplastic Transformation
    in Human Ovarian Cell Cultures,” Phytother. Res. 21: 579-586, at p. 585 (2007)
    (attached hereto as Exhibit 94) (“The data show that talc is capable of increasing
    cell proliferation, inducing neoplastic transformation of both the normal stromal and
    epithelial ovarian cells in vitro; and increasing ROS generation in these cells as well
    as the PMN cells.”).
    84
      Akhtar et al. (2012) at p. 404 (talc particles “significantly induced cytotoxicity,
    oxidative stress, and apoptosis in human lung epithelial cells”).

                                              30
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    (demonstrating induced cytotoxicity, oxidative stress, and apoptosis), and Akhtar 85

    (demonstrating toxicity mediated through oxidative stress). Saed and his colleagues

    expand this body of literature by exposing 5-6 cell lines including normal fallopian

    tube and ovarian cells, as well as ovarian cancer cells, to Johnson’s Baby Powder,

    finding alteration in the redox state indicating oxidative stress, elevation in CA-125

    levels, enhanced cell proliferation, inhibited apoptosis, changes in gene expression,

    and inducement of SNPs (single nucleotide polymorphisms) in a dose-responsive

    fashion. 86 These studies provide important evidence of the effects of talcum powder

    at the molecular level.

    IV.   THE PSC’S EXPERTS’ BIOLOGICAL PLAUSIBILITY OPINIONS
          ARE RELIABLE AND ADMISSIBLE

          As discussed above, the PSC’s experts’ biological plausibility opinions are

    based on robust data demonstrating that: (a) particulates similar to talcum powder

    readily migrate upwards in the genital tract from the vagina to the ovaries, fallopian

    tubes, and peritoneal cavity; (b) inhaled particulates (including asbestos and fibrous


    85
      Akhtar, et al. “The Primary Role of Iron-Mediated Lipid Peroxidation in the
    Differential Cytotoxicity Caused by Two Varieties of Talc Nanoparticles on A549
    Cells and Lipid Peroxidation Inhibitory Effect Exerted by Ascorbic Acid.”
    Toxicology in Vitro: An International Journal Published in Association with BIBRA
    24, no. 4 (June 2010): 1139–47 (attached hereto as Exhibit 95).
    86
      Fletcher, NM, Amy K. Harper, MD, Ira Memaj, BS, Rong Fan, MS, Robert T.
    Morris, MD, and Ghassan M. Saed, PhD. “Molecular Basis Supporting the
    Association of Talcum Powder Use With Increased Risk of Ovarian Cancer.”
    Reproductive Sciences 1-10. (2019) (attached hereto as Exhibit 96).

                                             31
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    talc) can reach the ovaries through the blood stream and lymphatic system; (c) once

    at the ovaries and fallopian tubes, talcum powder causes chronic inflammation and

    oxidative stress, which leads to DNA damage and increases the risk of ovarian

    cancer. Rather than address the evidence in its totality, J&J focuses on a handful of

    studies, arguing that these studies do not support biological plausibility. J&J’s

    arguments are without merit and do not justify exclusion under Daubert.

                        A.     THE   PSC’S  EXPERTS  APPROPRIATELY
                               CONSIDER EPITHELIAL OVARIAN CANCER
                               SUBTYPES

          J&J first accuses the PSC’s experts of failing to consider the different subtypes

    of ovarian cancer in their biological plausibility opinions. This is untrue and a red-

    herring. While there are different epithelial ovarian cancer subtypes, there are many

    commonalities including the etiology among them. 87 This is why much of the

    scientific evidence discusses epithelial ovarian cancer as a single disease,

    particularly with regard to causal factors such as inflammation. 88

    87
       See Wolf Rep. at 3 (“Epithelial carcinoma of the ovary, fallopian tube, and
    peritoneum are usually considered as a single entity due to their common clinical
    behavior, risk factors, and pathogenesis.”); Smith Rep. at 2-3; Clarke-Pearson Rep.
    at 3; National Cancer Institute PDQ; American College of Obstetricians and
    Gynecologists (ACOG): Ovarian Cancer FAQs; ACOG/Society of Gynecologic
    Oncologists (SGO) Practice Bulletin Hereditary Breast and Ovarian Cancer
    Syndrome (2017) (“Based on the contemporary understanding of the origins and
    management of ovarian cancer and for simplicity in this document, ovarian cancer
    also refers to fallopian tube cancer and primary peritoneal cancer.”).
    88
       See, e.g., Savant et al. (2018) at p. 2 (discussing inflammation as a risk factor for
    all epithelial ovarian cancer subtypes); Balkwill and Mantovani at p. 539 (identifying
                                              32
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          Nonetheless, to the extent relevant, the PSC’s experts considered the different

    subtypes of epithelial ovarian cancer and formed their opinions accordingly. 89 The

    PSC’s expert Dr. Levy explained:

                 Q:    Is your opinion related to all the different histologic
                       types of epithelial ovarian cancer?

                 A:    My -- my opinion is not exclusive to any -- any one
                       type. Certainly, the epithelial serous being the more
                       common and most virulent type of cancers I think
                       represents the most common. From a mechanistic
                       perspective, I mentioned some of the other subtypes
                       and the common gene mutations that go along with
                       them and as, again, supportive of the same
                       mechanism. And I think, if anything, the -- the
                       current data would suggest a -- a higher prevalence
                       of a particular subtype of cancer but certainly not
                       the -- the mechanism doesn't -- is not exclusive to
                       any one type. 90

          J&J also criticizes Dr. Saed’s choice of macrophage cells and immortalized

    fallopian tube and ovarian epithelial cells for use in his research, claiming they are


    talcum powder as an “[i]nflammatory stimulus” for “ovarian” cancer); Shan and Liu
    (2009) at p. 3108 (discussing epithelial ovarian cancer as single entity for purposes
    of inflammation).
    89
       Clarke-Pearson Rep. at 3, 4; Zelikoff Rep. at 19; McTiernan Rep. at 17; Moorman
    Rep. at 29; Smith Rep. at 2-3; Siemiatycki Rep. at 45-47; Wolf Rep. at 3; Smith-
    Bindman Rep. at 9-10; Clarke-Pearson Dep. at 132:12-133:17 (recognizing that
    different mechanisms can cause each subtype but that the evidence demonstrates
    talcum powder causes all subtypes except clear cell is uncertain because it is “a very
    rare cancer”); Smith Dep. at 242:5-19 (testifying that the subtypes are “poorly
    differentiated” and “overlapping”).
    90
      January 11, 2019 Deposition of Shawn Levy, Ph.D. (“Levy Dep.”) at 259:4-260:8;
    see also id. at 260:9-18 (attached as Exhibit 97).

                                             33
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    irrelevant. As is discussed in great detail in the Plaintiff Steering Committee’s

    Memorandum in Opposition to Johnson & Johnson and Johnson & Johnson

    Consumer, Inc.’s Motion to Exclude Expert Opinions of Ghassan Saed, Dr. Saed’s

    choice of cell lines is well supported in the literature. The medical literature supports

    the clinical relevance of molecules related to the cancer microenvironment in

    ovarian cancer stromal cells. 91 Normal immortalized ovarian epithelial cells are also

    relevant and frequently used for in vitro ovarian cancer studies. 92 The fact that these

    studies of human tissues showed inflammation and genetic transformation in human

    epithelial and fallopian tissues is relevant.

                 B.     THE PSC’S EXPERTS’ OPINIONS ON MIGRATION ARE
                        SUPPORTED BY RELIABLE SCIENTIFIC AND
                        MEDICAL LITERATURE

          In an effort to distract from the overwhelming evidence on migration as a

    whole, J&J parses out individual studies and critiques them as being unsupportive

    of migration, despite the authors’ contradictory conclusions. 93 J&J’s effort to


    91
      Davidson et al., “The Role of the Tumor Stroma in Ovarian Cancer,” Front Oncol.
    4: 104 (2014) (attached hereto as Exhibit 98).
    92
       Shin et al., “Establishment of five immortalized human ovarian surface epithelial
    cell lines via SV40 T antigen or HPV E6/E7 expression,” PLOS One 13(10): 1-16,
    at p. 1 (2018) (immortalized “human ovarian surface epithelial (HOSE) cells are a
    critical cell source for ovarian cancer research.”) (attached as Exhibit 99).
    93
      Ref. Man. at 600 (recognizing review of the “relevant available scientific evidence,
    taken as a whole” is proper, rather than “review [of] each scientific study
    individually”); see also In re Zoloft (Sertraline Hydrochloride) Prod. Liab. Litig.,
    858 F.3d 787, 796–797 (3d Cir. 2017) (citing Milward, 639 F.3d at 17 (“[t]he court
                                               34
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    discredit some studies simply reveals that this is an issue of weight for the jury, not

    a basis for exclusion under Daubert.

                            1.   The Presence of Talc and Asbestos in Reproductive
                                 Tissue Supports Migration

             J&J first focuses on three studies showing the presence of talc in reproductive

    tissue – Henderson (1971), Cramer (2007), and Heller (1996-talc). J&J argues that

    these studies only show that talc “from some source can be found in human ovaries

    or lymph nodes” but do not prove migration.94 This argument goes to the weight of

    the studies, not their ability to support the PSC’s experts’ opinion as part of the

    totality of the evidence.

             While J&J may be correct that in isolation, these studies only prove that talc

    got to the ovaries and lymph nodes from somewhere, that is not how scientific

    evidence is reviewed or considered. Rather, when viewed through the lens of the

    totality of the evidence on the ability of particles to migrate upward from the vagina




    treated the separate evidentiary components of [the expert’s] analysis atomistically,
    as though his ultimate opinion was independently supported by each.”); Magistrini
    v. One Hour Martinizing Dry Cleaning, 180 F. Supp. 2d 584, 607 (D.N.J. 2002); In
    re Tylenol (Acetaminophen) Mktg., Sales Practices, & Prod. Liab. Litig., 198 F.
    Supp. 3d 446, 458 (E.D. Pa. 2016); In re Phenylpropanolamine (PPA) Prod. Liab.
    Litig., 289 F. Supp. 2d 1230, 1242 (W.D. Wash. 2003) (rejecting defense Daubert
    challenges which “isolate these sources [of evidence] rather than considering the
    whole”).
    94
         Def. Mot. at 22.

                                                35
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    to the ovaries and fallopian tubes and through inhalation, 95 the presence of talc in

    the ovaries and lymph nodes has clinical and scientific significance.

           J&J’s only critique of these studies appears to be that the talc came from

    contamination. But J&J has no basis in fact for attributing the presence of talc solely

    to contamination. The study authors expressly controlled for contamination and

    noted that the talc was deeply embedded in the tissue, indicating it was not from

    contamination. 96 “Talc particles found, for example, on ovarian tissue might be

    contaminants deposited during sample collection and processing. For talc particles

    in the ovarian tissue, contamination during sample collection and processing can be

    ruled out.” 97

           Additionally, as J&J recognizes, recent research, expressly designed to

    account for contamination, found talc in ovarian tissue and confirmed the “earlier



    95
       See supra §III.A. Notably, J&J ignores Heller et al. (1996–asbestos), which
    demonstrated the presence of asbestos in ovarian tissue and concluded that “women
    with a positive exposure history had asbestos detected in their ovaries more
    frequently.” Id. at p. 439; Clark-Pearson Rep. at 8; Wolf Rep. at 10 of reliance list;
    Smith Rep. at 10 of reliance list.
    96
       Heller et al. (1996-talc) at p. 1508 (“Routinely, all solutions are checked for
    detectable limits of contaminating particles; all places where particles could have
    contaminated the specimen, such as paraffin, are also controlled for.”); Cramer
    (2007) at p. 500 (“talc was shown to be present in macrophages within the actual
    tissue, ruling out contamination during processing”); Henderson et al. (1971) at p.
    268.
    97
      Wehner et al., “Biological effects of cosmetic talc,” Fd Chem. Toxic 32(12): 1173-
    1184, at p. 1175 (1994) (attached as Exhibit 100).

                                              36
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    observations that talc particles, from perineal exposure, can and do migrate to pelvic

    lymph nodes.” 98 These studies are reliable and support the PSC’s experts’ opinions.

                                2.    The PSC’s Experts’ Migration Opinions Are
                                      Supported by Studies Showing Migration of
                                      Particles in the Female Genital Tract

             J&J does not contend that the migration studies upon which the PSC’s expert

    rely are unreliable. Instead, J&J argues that migration is not supported by the

    numerous human migration studies. According to J&J, those studies all “involved

    insertion of particles into the genital tract” (rather than perineal application),

    manipulation of the environment to encourage migration (rather than normal human

    behavior and even though the conditions represent normal and common occurrences

    in women e.g. lying down, increased oxytocin levels with orgasm, or insertion of

    particles as occurs with sexual intercourse or other daily activities). J&J also claims

    that particles other than talc are not relevant (even similar in size and other

    morphologic features). 99

             Again, these criticisms go to the weight of the evidence and opinion, not

    admissibility. The PSC’s experts are not required to point to a study specifically

    showing the migration of talcum powder from the perineum to the fallopian tubes




    98
         McDonald et. al (2019) at p.12; see also Mot. at 21 n.44 (citing McDonald).
    99
         Def. Mot. at 24.

                                              37
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    and ovaries to conclude that migration is plausible. 100 Nonetheless, J&J’s critiques

    of the evidence are misplaced.

          First, J&J completely ignores real life and female anatomy. Access to the

    vagina from the perineum does not require the moving of mountains that J&J

    suggests. 101 Among other things, women exercise, use the restroom, use tampons,

    lay down, and engage in sexual intercourse – all activities that can result in talcum

    powder that was applied to their perineum migrating or translocating into their

    vaginas. 102 For this reason, J&J’s experts, the PSC’s experts, regulatory authorities,

    and the medical and scientific community all agree that the outside world has access

    to the peritoneal cavity through the vagina, uterus and fallopian tubes. 103 Therefore,


    100
       Milward, 639 F.3d at 23; In re Testosterone Replacement Therapy, 2017 U.S.
    Dist. LEXIS 69399, *1005 (admitting expert testimony where there was no “single
    piece of evidence the experts rely upon [that] is sufficient to support their causation
    opinions. But the experts have adequately explained why they have reached their
    conclusions on the basis of the evidence as a whole.”).
    101
        See January 19, 2019 Deposition of Arch Carson (“Carson Dep.”) at 301:16-
    302:2 (testifying that application to the perineum is equivalent to materials instilled
    into the vagina”)(attached as Exhibit 101).
    102
       Wolf Dep. at 194:7-195:20; Huncharek et al. (2009) at p. 423 (recognizing that
    “in the experimental setting translocation of talc particles to the human ovary can
    occur with deliberate or inadvertent manipulations of patients in the supine
    position”); Heller et al. (1996-asbestos) at p. 438 (proposing sexual intercourse as a
    “transporting vector for asbestos fibers” to the ovaries).
    103
       Ex. 9 to Birrer Dep.; see also Clarke-Pearson Rep. at 7; Wolf Rep. at 10; Smith
    Rep. at 17; April 2014 FDA Letter; IARC 2012 at 232; Health Canada, Draft
    Screening Assessment, at p. 21 (“This evidence of retrograde transport supports the
    biological plausibility of the association between perineal talc application and
    ovarian exposure. . . .”); Folkins et al. at p. 846 (“Talc placed on the perineum may
                                              38
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    studies that show migration from the vagina upward are relevant to whether powder

    placed on the perineum could similarly migrate once it gets in the vagina.

                Second, the evidence is overwhelming that once in the vagina, particles

    rapidly migrate upward to the ovaries and fallopian tubes. 104 As the literature

    explains, uterine peristalsis (the regular and natural contractions that occur in the

    genital tract) creates contractions that result in upward migration of particles from

    the vagina to the ovaries and fallopian tubes. 105

                Sjosten et al. (2004), is particularly instructive on this point. In Sjosten, the

    study subjects received a “routine gynecological examination” by a doctor using

    cornstarch powdered gloves. 106 “Any medication that might have influenced the

    tubal patency [opening the fallopian tubes]” was not administered. 107 No other steps




    enter the vagina and ascend to the upper genital tract.”); Houghton et al. (2014), at
    p. 1 (“Talc particulates from perineal applicable have been shown to migrate to the
    ovaries.”); Langseth et al. (2008) at p. 358 (“A majority of women experience
    retrograde menstruation; this suggests a mechanism by which talc can travel through
    the female production tract to the ovaries.”); Henderson et al. (1986), at p. 247
    (“Direct communication between the external environment and the peritoneal cavity
    exists in the female via her genital tract.”).
    104
          See supra §III.A. (discussing evidence).
    105
        Jones and Lopez at p. 162; Kissler et al. (2004) at p. 369-70; Kunz et al. (1997)
    at p. 269; Egli and Newton (1961) at p. 154.
    106
          Sjosten et al. (2004), at p. 992.
    107
          Id.

                                                   39
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    were taken to influence migration. 108 Yet, within 24 hours and for up to 4 days

    following examination, cornstarch was found in the cervical canal, uterine cavity,

    and fallopian tubes. 109 The study authors concluded that “[s]ince evidence suggests

    that a retrograde migration could be a general mechanism…we should be critical of

    harmful substances, e.g. glove powder, that could migrate from the vagina to

    abdominal cavity.” 110 This study, in connection with the numerous other studies

    demonstrating migration and the tissue studies showing the presence of talc and

    asbestos, certainly support a biologically plausible mechanism through migration.

             Finally, while the PSC’s experts readily acknowledge the differences among

    the types of particulates used in the studies, 111 the type of particle does not appear to

    matter as all different types of particles (including cornstarch) behave the same by

    migrating upward. Additionally, it has been recognized that the particulates studied,

    are similar in size to talc. 112


    108
        That the women in this study were laying down is not atypical of what women do
    in their daily lives. See Def. Mot. at 29 n. 57.
    109
          Id. at p. 992-93, 995.
    110
          Id. at 995.
    111
       Wolf Rep. at 10-11; Smith-Bindman Rep. at 35; Smith Rep. at 16; Clarke-Pearson
    Rep. at 7-8; McTiernan Rep. at 58; Zelikoff Dep. at 427:21-429:3 (attached as
    Exhibit 102)(talcum powder particles are within the range of the particles used in
    the animal studies).
    112
        Health Canada Assessment at p. 9 (recognizing that the particles studied in Egli
    et al. (1961), DeBoer (1972), and Iturralde and Venter (1979) are “the same size as
    talc.”).

                                               40
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             J&J also critiques the PSC’s experts’ reliance on animal studies. 113 Animal

    studies may be relied upon for purposes of biological plausibility. 114 Indeed, the

    cases cited by J&J recognize the important role animal data may play in determining

    human causation, 115 but involve situations where the experts relied solely on animal

    studies and were unable to explain how the results from those studies were

    appropriately extrapolated to humans. 116

             However, here, the PSC’s experts rely on the extensive human data on

    migration discussed above, not on the handful of animal studies. 117 While Dr.



    113
          Def. Mot. at 32-40.
    114
       In re Testosterone Replacement Therapy, 2017 U.S. Dist. LEXIS 69399, at *1015;
    In re Actos (Pioglitazone Prods. Liab. Litig., No. 12-CV-00064, 2013 U.S. Dist.
    LEXIS 179235, at *12 (W.D. La. Dec. 19, 2013) (approving reliance on animal
    studies to show biological plausibility); Smith, 2011 U.S. Dist. LEXIS 47197, at *2
    (admitting expert opinion that relied in part on in vitro and animal studies).
    115
       See In re Rezulin Prods. Liab. Litig., 369 F. Supp. 2d 398, 407 (S.D.N.Y. 2005)
    (“In addition to research on humans, scientists often perform experiments on living
    animals, such as rats, mice, and monkey. The advantages of such studies include the
    fact that they can be conducted as true experiments, with exposure controlled and
    measure and ethical limitations diminished.”).
    116
        See Def. Mot. at 35 (citing GE v. Joiner, 522 U.S. 136, 144-145 (1997) (plaintiff
    failed to explain “how and why the exerts could have extrapolated their opinions
    from these seemingly far-removed animal studies”); Wade-Geaux v. Whitehall
    Labs., Inc., 874 F. Supp. 1441, 1482 (D.V.I. 1994) (experts failed to provide “any
    reasoned basis” for relying on animal studies)).
    117
        See Clarke-Pearson Rep. at 7-8; Wolf Rep. at 10-11; Smith Rep. at 16-17;
    McTiernan Rep. at 58-59; Moorman Rep. at 33; Plunkett Rep. at 28; Zelikoff Rep.
    at 13-14; Carson Rep. at 6; Siemiatycki Rep. at 65; Singh Rep. at 18-19, 57; Smith-
    Bindman Rep. at 35; Levy Rep. at 14.

                                                41
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    Zelikoff discusses the animal studies, she appropriately acknowledges their

    limitations when it comes to studying migration and simply notes that the animal

    data further supports her biological plausibility opinions. 118

             Oddly, while J&J critiques the use of animal data for purposes of opining on

    migration in humans, it also accuses the PSC’s experts of “cherry-picking” for

    failing to consider a single animal study that J&J likes – Wehner et al. (1986). 119

             First, the PSC’s experts did consider Wehner (1986) with the totality of the

    evidence. 120

             Second, Wehner (1986) does not disprove migration. The authors there simply

    concluded that based upon the limited study, “[i]t is less clear whether or not

    inanimate particles such as carbon black or talc can translocate of their own accord

    from the vagina to the oviducts and beyond.” 121 Importantly, Wehner predated the

    majority of studies relied on by the PSC’s experts, including Sjosten et al. (2004),


    118
       See, e.g., Zelikoff Rep. at 13 (“Though animal studies have limitations due to the
    differences in anatomy, they provide evidence that talc can migrate through the
    reproductive system.”); id. at 13-14 (discussing human data).
    119
      Def. Mot. at 36-38 (discussing Wehner et al., “On Talc Translocation From the
    Vagina to the Oviducts and Beyond,” Food Chem Toxicol 24: 329-338 (1986)
    (marked as Exhibit 103). Notably, Wehner et. al. (1986) was a study funded by
    Defendant PCPC (formerly known as the Cosmetic, Toiletry and Fragrance
    Association (CTFA), of which J&J is a member. See Wehner et al. (1986) at p. 329.
    J&J also funded other studies conducted by Wehner.
    120
          Plunkett Rep. at 33-34; Singh Rep. at 57; Zelikoff Rep. at 13.
    121
          Wehner et al. (1986) at p. 331.

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    which found that cornstarch (which is similar to talc) migrates in humans from the

    vagina to the ovaries and fallopian tubes. 122 Additionally, Wehner assumed that the

    behavior of particles would be governed by the “laws of physics” that would not

    permit particles to migrate “upstream.” This statement was pure speculation at the

    time of his study and has since been disproven by the discovery of the uterine

    “peristaltic pump.”

             Rather than rely on a single animal study as J&J does, the PSC’s experts rely

    on numerous of human migration studies discussed above, conclusions by IARC,

    Health Canada, and the FDA, and medical textbooks. 123 J&J’s criticism that the

    PSC’s experts failed to consider one study (even though they did consider it) is not

    a basis for exclusion of their opinions. The PSC’s experts’ migration opinions are

    well-supported by reliable evidence and are admissible.

                                 3.     The Scientific and Medical Literature Supports
                                        Inhalation as a Secondary Mechanism

             J&J suggests that the PSC has “abandoned” inhalation as a secondary

    mechanism. 124 It has not. 125 J&J’s other critiques of inhalation as a possible


    122
          Sjosten et al. (2004) at p. 992-93, 995.
    123
          See supra §III.A.
    124
          Def. Mot. at 41.
    125
       See Wolf Rep. at 11 (“In addition to perineal application resulting in migration
    and transport of particles through the genital tract, inhalation of these articles is
    another recognized route of exposure.”); Smith Rep. at 19 (“Although
    migration/transport through the genital tract is the primary source of exposure with
                                                 43
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    mechanism are again over the weight of the evidence, not about admissibility. J&J

    does not argue that a single study relied on by the PSC’s experts to support inhalation

    as a plausible mechanism is unreliable.

             J&J’s primary critique against inhalation as a secondary mechanism is that

    “talc” as a single entity does not cause ovarian cancer when inhaled. 126 But talcum

    powder products contain more than just talc. They contain asbestos and fibrous talc,

    which have been shown to migrate when inhaled. 127 IARC concluded that all forms

    of asbestos and fibrous talc (which are present in talcum powder) are Group 1

    carcinogens and cause ovarian cancer through inhalation. 128 Additionally, IARC

    acknowledges that inhaled fibers (asbestos and others) travel to other parts of the




    genital talcum powder use, inhalation represents a secondary exposure route.”);
    Clarke-Pearson Dep. at 217:6-11; Plunkett Rep. at 27 (“There also is evidence that
    application of talcum powder products results in inhalation exposure of talc dusts”);
    Zelikoff Rep. 13 (”Based on its physical properties talc, in a powder form, can be
    inhaled while being applied (EPA, 1992; IARC, 2010). Additional evidence that
    application of talc body powder products results in inhalation exposure of talcum
    powder is provided….”); Siemiatycki Rep. at 65 (recognizing migration up the
    genital tract and inhalation as the two possible routes of exposure).
    126
          Def. Mot. at 41-45.
    127
        Health Canada Draft Assessment at p. 22 (“There is a potential for inhalation
    exposure to talc powder during the use of certain self-care products (e.g., cosmetics,
    natural health products, non-prescription drugs formulated as loose powders).”);
    Cramer et al. (2007) (finding talc in lymph nodes suggests migration through
    inhalation); IARC 2012 at p. 280; Kane et al. (1996) at p. 12, 25; Wolf Rep at 11
    (citing Longo et al. 2017, Steiling et al. 2018, Cramer et al. 2007, and IARC 2012).
    128
          IARC 2012 at pp. 219, 232, 256, 280.

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    body including the lymphatic system. 129 Accordingly, the evidence on asbestos and

    fibrous talc is relevant.

             J&J next criticizes Dr. Zelikoff for relying on animal studies that were not

    intended to study inhalation. 130 But that is not why Dr. Zelikoff looked at these

    studies. As she explained in her report, “[t]hese studies will be discussed to provide

    a scientific premise for the movement of particles of a certain size throughout the

    body.” 131 J&J also misleadingly criticizes Dr. McTiernan for relying on Heller

    (1996–talc) as support for inhalation as a mechanism. 132 But Dr. McTiernan does

    not solely rely on Heller. Rather, as is clear from her report, Dr. McTiernan discuses

    Heller (1996–talc), along with the rest of the tissue data, including Cramer (2007),




    129
       IARC 2012 at p. 280 (“The route of translocation of asbestos fibres from the lungs
    to distant sites is unknown, although lymphatic translocation of amosite fibres
    deposited in the lungs has been shown in experimental animals.”); see also Cramer
    et al. 2007 (talc found in lymph nodes).
    130
          Def. Mot. at 42.
    131
        Zelikoff Rep. at 14-15; see also Steiling et al. (2018) at p. 12 (recognizing that
    loose powders, which include talcum powder products, “could generate such a dust
    cloud or atmosphere during product handling or application, and therefore there is
    the potential for inhalation exposure”); Health Canada Draft Assessment at p. 23
    (talcum powder products particles are in the range to be inhaled and respirated).
    132
          Mot. at 42-43 (citing McTiernan Rep. at 58).

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    which found talc particles in lymph nodes. 133 Her conclusion that these studies

    support inhalation as a mechanism is supported by the science. 134

             J&J’s final critique of inhalation as a secondary mechanism is that other

    cancers also should be associated with talcum powder use. 135 However, different

    tissues react differently to carcinogens. 136 As Dr. Clarke-Pearson explained, “some

    tissues are more susceptible to a carcinogen than others.” 137 Additionally, it is

    entirely possible that talcum powder products causes an increased risk of other

    cancers, but the PSC’s experts were not tasked with making that determination. Nor

    is that required for purposes of biologically plausibility in this case.

             The PSC’s experts’ opinions on inhalation as a secondary mechanism are

    reliable and admissible.

             C.    THE SCIENTIFIC LITERATURE SUPPORTS CHRONIC
                   INFLAMMATION FROM TALCUM POWDER PRODUCTS AS
                   A CAUSE OF OVARIAN CANCER



    133
          McTiernan Rep. at 58-59.
    134
       See IARC 2012 at 280 (“The route of translocation of asbestos fibres from the
    lungs to distant sites is unknown, although lymphatic translocation of amosite fibres
    deposited in the lungs has been shown in experimental animals.”).
    135
          Def. Mot. at 45.
    136
          See Clarke-Pearson Dep. at 210:24-212:10.
    137
       Clarke-Pearson Dep. at 212:9-10; Carson Rep. at 8 (“Because the ovaries have
    no intrinsic elimination system, the transport of talc particles and their constituents
    reaches the ovaries where it stalls and sequesters. For these reasons, ovarian tissue
    is most at risk for the carcinogenic effect of these substances.”).

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             Just as it did with migration, J&J ignores the totality of the evidence and the

    standards of biological plausibility, and instead, argues that a handful of individual

    studies support its position that talc does not cause chronic inflammation. This is not

    a basis for exclusion under Daubert. The PSC’s experts’ opinions on chronic

    inflammation from talcum powder as contributing to the pathogenesis of ovarian

    cancer are reliable and overwhelmingly well supported by the literature. To the

    extent J&J disagrees with the weight of a particular study or believes it has evidence

    to support its position, those are matters for cross-examination and jury, not

    exclusion under Daubert. 138

                          1.    The Scientific Evidence Supports Talcum Powder
                                Causes Chronic Inflammation

             J&J again ignores the weight of the evidence showing that talcum powder

    causes inflammation and instead, selectively chooses a handful of studies on talc that

    J&J says do not show inflammation. The scientific evidence demonstrates that

    talcum powder (including all of its constituents) readily supports the conclusion that

    talcum powder is capable of causing chronic inflammation. 139

             Pointing to Heller et al (1996–talc), Henderson et al. (1971), and its own

    expert’s testimony, J&J argues that inflammation is not caused by talc because it has




    138
          Daubert, 509 U.S. at 596; In re TMI Litigation, 193 F.3d at 664, 665.
    139
          See supra §III.B.

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    never been visually observed in pathology. 140 This has nothing to do with Daubert.

    Whether Plaintiffs are correct or J&J is correct is a matter for the jury, not an issue

    to be decided on Daubert. 141

             Nonetheless, it is well accepted that inflammation is not necessarily seen by

    histology in the biologic cascade resulting in carcinogenesis. 142 Oxidative stress and

    genetic mutations are not usually associated with histologic findings. Additionally,

    by the time tissue is observed, any inflammation that may have been visual would

    likely have been consumed by the cancer over time. 143 Still, inflammatory

    biomarkers like CA-125 may be observed and ovarian cancer is almost always

    associated with ascites which is an inflammatory consequence of ovarian cancer. 144




    140
          Def. Mot. at 50
    141
       Milward, 639 F.3d at 15; Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311,
    1318 (9th Cir. 1995) (Daubert II) (“[T]he Daubert test “is not the correctness of the
    expert’s conclusion but the soundness of his methodology.”).
    142
       Hallmarks of Cancer, Hanahan (2011) at p. 664 (authors note that inflammation
    is not necessarily seen by histology. Oxidative stress is not seen); Clarke-Pearson
    Dep. at 228:8-17 (explaining that inflammatory cascade is not necessarily visual in
    histology); Levy Dep. at 258:2-259:14 (explaining that whether you visually see the
    inflammatory response will vary from person to person and depends on timing,
    magnitude of inflammatory response, and methodology for detection, including a
    ROS assay).
    143
       Kane Rep. at 12 (“Remote exposure will not necessarily mean there will be
    evidence of current inflammation or foreign body reaction when tissues are
    examined.”).
    144
          Clarke-Pearson Dep. at 226:18-227:5.

                                               48
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                J&J also critiques a handful of animal studies relied on by the PSC’s experts

    as only showing acute inflammation, not chronic inflammation. To be clear, the

    PSC’s experts do not simply rely on animal studies. 145 Additionally, Keskin (2009)

    involved rats and application of talc (asbestos-free) only for only three months.146

    Given the study limits in Keskin (2009), it is not surprising that only infection and

    acute granulomas were shown. 147 The PSC’s experts’ opinions have to do with

    human females with long-term use of talcum powder (which also contains platy talc,

    asbestos, fibrous talc, heavy metals, and other chemicals. Despite the limited

    timeframe in Keskin, the study authors still noted “foreign body reaction” and

    “increase in inflammatory cells” in all of the exposed rats. 148 While chronic




    145
        See supra §III.B. (discussing in vitro and in vivo studies); Clarke-Pearson Rep.
    at 4; Smith Rep. at 17; Wolf Rep. at 12; Carson Rep. at 6; Singh Rep. at 58; Zelikoff
    Rep. at 25; McTiernan Rep. at 60-61; Plunkett Rep. at 42; Moorman Rep. at 33-34.
    146
       Keskin et al. (2009) at p. 925; see Health Canada Draft Assessment, p. 16 (“while
    no cancer or pre-cancer effects were observed, Keskin and colleagues (2009) noted
    that the study duration may have been too short to note these types of effects.”).
    147
       Health Canada Draft Assessment, p. 15 (“Ovarian epithelial tumours are also rare
    in these animals (Taher et al. 2018). Ovarian tumours do occur in some strains of
    mice and rats; however, the low incidence and/or the length of time required for the
    appearance of tumours renders them poorly feasible for experimental studies of
    ovarian carcinogenesis Vanderhyden et al. “Animal models of ovarian cancer”,
    Reproductive Biology and Endocrinology 2003, I:67. (attached as Exhibit 104). On
    account of the limitations detailed above, in addition to the challenges posed by
    exposing animals via the perineal route, animal data are very limited.”).
    148
          Id.

                                                  49
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    inflammation was not seen in the limited study time, the study results are consistent

    with the conclusion that talcum powder can cause chronic inflammation.

             Finally, J&J’s attack on Dr. Saed for citing Langseth (2004) is unavailing. 149

    Dr. Saed mistakenly cited Langseth (2004) instead of Langseth (2008), which is an

    animal study. Even so, Dr. Saed’s citation to Langseth is for the general proposition

    that “[s]tudies that exposed lab animals (rats, mice, and hamsters) to asbestos-free

    powder in various ways have mixed results, with some showing tumor formation

    and others finding only inflammation.” 150 This general premise is not disputed and

    Dr. Saed also cites Graham, J. & Graham, R. Ovarian cancer and asbestos. Environ

    Res 1, 115-128 (1967), which does involve hamsters and mice and demonstrates

    inflammatory processes.

             Finally, J&J footnotes the argument that inflammation does not occur because

    if it did inflammation would also occur in other parts of the genital tract such as the

    vagina, cervix, and endometrium. Mot. at 54 n.122. As the PSC’s experts explained,

    these different areas (e.g., vagina) have different tissues and different tissues react

    differently to carcinogens. 151 Additionally, there is the issue of time. Unlike with the


    149
          Def. Mot. at 53.
    150
       Expert Report of Ghassan Saed, Ph.D. (November 16, 2018) at 10-11. (attached
    as Exhibit 105).
    151
       Clarke-Pearson Dep. at 212:21-23; Carson Rep. at 8 (“Because the ovaries have
    no intrinsic elimination system, the transport of talc particles and their constituents
    reaches the ovaries where it stalls and sequesters.”); Wehner et al. (1994) at p. 1176
                                                50
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    ovary, there is no evidence that the talcum powder particles lodge in cervical or

    endometrial tissue on the way to the fallopian tubes and ovaries, which would result

    in chronic inflammation. 152

             The totality of the scientific evidence reliably supports the PSC’s experts’

    opinions that talcum powder can cause chronic inflammation that leads to an

    increased risk of ovarian cancer.

                             2.   The Scientific Evidence Supports the Opinion that
                                  Chronic Inflammation Increases the Risk of Ovarian
                                  Cancer

             J&J again ignores the evidence and argues that the PSC’s experts’ opinion

    that inflammation leads to ovarian cancer is “nothing other than unsubstantiated

    hypotheses and vague generalities.” 153 J&J claims that the “theory” that

    inflammation can cause ovarian cancer first appeared in a review article in 1999 and

    has yet to be proven. 154 Not so.

             Ness and Cottreau (1999) did not pull the idea that inflammation plays an

    important role in the pathogenesis of ovarian cancer out of thin air. Inflammation as




    (“[T]he ovarian surface epithelium is a dynamic tissue with distinct morphological
    differentiations: it may proliferate inwards and form crypts and inclusion cysts or it
    may develop superficial papillary excrescences.”).
    152
          Carson Dep. at 198:19-199:7, 209:15-210:1.
    153
          Def. Mot. at 54.
    154
          Def. Mot. at 55

                                              51
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    a mechanism of cancer has been well known for decades. 155 Ness and Cottreau did

    a thorough analysis of the available data on inflammation and cancer and the

    mechanisms known to relate to ovarian cancer, and concluded in 1999 that various

    inflammatory factors, including exposure to asbestos and talcum powder, are

    epithelial inflammation initiators that play a role in ovarian carcinogenesis. 156

          Subsequent scientists have done additional research and concluded that

    inflammation plays a critical role in the pathogenesis of epithelial ovarian cancer.

    For example, in 2009 Shan and Liu found that “[t]he tumor milieu in which EOC

    develops has been described as one enriched with a broad spectrum of pro-

    inflammatory cytokines and chemokines…Increasing evidence suggests that

    inflammation contributes significantly to the etiology of EOC;” in 2014 Trabert et

    al. found “evidence that inflammation plays an important role in ovarian

    carcinogenesis;” and in 2018, Health Canada found that [t]here is support for an

    association of inflammation and increased risk of ovarian cancer” and Savant et al.




    155
       See Balkwill and Mantovani (2001) at p. 539 (recognizing that as far back as
    1863, inflammatory cells (leukocytes) were identified in tumor tissue).
    156
        Ness and Cottreau (1999) at p. 1464 (discussing review of the data on
    inflammation).

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    (2018) “presented published evidence suggesting that inflammation and

    inflammatory mediators promote ovarian tumorigenesis.” 157

             J&J ignores the vast majority of relevant and reliable evidence supporting

    inflammation as a mechanism of ovarian cancer. Instead, discussing only two studies

    (Trabert and Buz’Zard), J&J takes issue with them as being “inconclusive” and

    having methodological flaws, respectively. 158 First, even though the results of

    Trabert’s study were inconclusive the authors recognized that “[m]ultiple lines of

    evidence      suggest       that   ovarian   cancer   may   be   related   to   chronic

    inflammation…[I]nflammation-related exposures such as endometriosis and

    exposure to talc or genital powder and asbestos have been associated with increased

    ovarian risk.” 159

             Second, J&J’s critiques of Buz’Zard for using granulosa cell lines,

    immortalized lines, and not showing dose response are without merit. Buz’Zard used

    both granulosa and epithelial cells and found that “ROS generation increased with




    157
        See Shan and Liu (2009) at p. 3130; Trabert et al. (2014-inflammation markers)
    at pp. 309; Health Canada Draft Screening Assessment at p. 18; Savant et al. (2018)
    at p. 18; see also Freedman et al. (2004) at p. 4; Saed et al. (2017) at pp. 596-97.
    158
          Def. Mot. at 57-60.
    159
       Trabert et al., “Aspirin, Nonaspirin Nonsteroidal Anti-inflammatory Drug, and
    Acetaminophen Use and Risk of Invasive Epithelial Ovarian Cancer: A Pooled
    Analysis in the Ovarian Cancer Association Consortium,” JNCI J Natl Cancer lnst.
    106(2): 1-11, at p. 1 (2014) (attached as Exhibit 106).

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    time in the talc treated [normal] cells.” 160 J&J provides no explanation for why the

    use of immortalized cells eliminates these results. Based on this data, the authors

    concluded that “[t]he data show that talc is capable of increasing cell proliferation,

    inducing neoplastic transformation of both the normal stromal and epithelial ovarian

    cells in vitro; and increasing ROS generation in these cells as well as the PMN

    cells.” 161 Additionally, as to cellular transformation, the authors explained: “Our

    data show talc not only increased cell viability (Fig. 1A), but also caused an

    increased in transformed cells in both the stromal and epithelial ovarian cells by their

    ability to grow, divide and form colonies while being suspended in soft agar.” 162

    These results are relevant.

             J&J also criticizes some experts for citing studies regarding the role anti-

    inflammatories (“NSAIDs”) play in decreasing cancer risk. 163 J&J argues that

    because the results of the NSAID studies are mixed, the PSC’s experts cannot rely

    on them. The PSC’s experts do not rely on NSAID data for their opinions on

    inflammation – they rely on the overwhelming body of evidence that demonstrates

    inflammation plays an important role in the pathogenesis of ovarian cancer. The




    160
          Buz’Zard and Lau (2007) at p. 582.
    161
          Id. at p. 585.
    162
          Id. at p. 584.
    163
          Def. Mot. at 64.

                                               54
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    PSC’s experts that cite to the NSAID data acknowledge its mixed results and only

    cite it as additional evidence of the role of inflammation in cancer pathogenesis

    generally. 164 The evidence supports this opinion.

              J&J selected a single article (Trabert (2014-NSAIDs) on the relationship

    between anti-inflammatory medications and labeled it “flawed” and “inconclusive.”

    This study was conducted by the Ovarian Cancer Cohort Consortium, a prestigious

    group of researchers (acknowledged by Dr. Birrer who is a member) and including

    close to 40 authors. 165 J&J rejects the conclusions of these respected scientists and

    ignores the remainder of the literature on this topic. Trabert’s NSAID study observed

    a 20% risk reduction for daily users of aspirin and 34% risk reduction for regular

    users of low-doses of aspirin. 166 The study did not find any substantial differences




    164
        See Wolf Rep. at 12 (“Although the literature is still somewhat contradictory,
    aspirin and other non-steroidal anti-inflammatory drugs have been shown to prevent
    and treat certain types of cancer, particularly colorectal.”); Smith Rep. at 18
    (“Although somewhat inconsistent, data regarding NSAID and aspirin suggest a
    protective effect…No study found an effect on ovarian cancer….”); Levy Rep. at
    12-13 (“The earlier studies with a focus on NSAIDs were preliminary and results
    were somewhat inconsistent.”); McTiernen Rep. at 60 (citing NSAID data for
    “f[]urther evidence of the inflammation mechanism”); Kane Rep. at 12 (“There also
    are some studies showing a protective effect of anti-inflammatory drugs on the risk
    of developing carcinoma, although some studies have failed to show a protective
    effect.”).
    165
          Trabert et al. (2014) (NSAIDs).
    166
          Id. at p. 5.

                                             55
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    between histologic subtypes of ovarian cancer. 167 The authors identified

    inflammation reduction as a plausible mechanism. 168

              In the same year (2014), Trabert et al. also performed a case-control study

    measuring 46 inflammation-related biomarkers in ovarian cancer cases and matched

    controls. 169 In this study, the researchers identified several circulating inflammation

    markers that were associated with risk of developing cancer between 2 and 14 years

    later. 170 The authors again identify inflammation as plausible mechanism. 171


    167
          Id. at p. 6.
    168
         Id. (“Several established risk factors for ovarian cancer are related to
    inflammatory processes. During ovulation, follicles rupture and inflammatory
    mediators are released locally that may initiate cell transformation or that may
    promote growth of transformed cells. Proinflammatory agents are also released in
    inflammatory processes related to endometriosis. Aspirin and nonaspirin NSAIDs
    may reduce exposure to these inflammatory processes; thus, the reduced risk of
    ovarian cancer with frequent aspirin use and nonsapirin NSAID use is consistent
    with the hypothesized inflammatory etiology of ovarian cancer.”) (citations
    omitted).
    169
          Trabert et al. (2014-inflammation markers).
    170
          Id. at p. 6.
    171
       Id. at p. 2 (“Epidemiologic evidence implicates chronic inflammation as a central
    mechanism in the pathogenesis of ovarian cancer, the most lethal gynecologic cancer
    among women in the United States. Chronic inflammation can induce rapid cell
    division, increasing the possibility for replication error, ineffective DNA repair and
    subsequent mutation. Ovarian cancer has been linked to several events and
    conditions which are related to inflammation and repair, including incessant
    ovulation, endometriosis, exposure to talc and asbestos, and in some studies pelvic
    inflammatory disease. In addition, reduced risks found for aspirin use could be
    related to direct anti-inflammatory actions, while reduced risks related to tubal
    ligation and hysterectomy could reflect limited exposure to environmental causes of
    inflammation.”) (citations omitted).

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             Trabert and the Ovarian Cancer Cohort published a pooled analysis of 12 case-

    control studies in 2019, confirming the slightly lower but statistically significant,

    risk decrease in ovarian cancer risk with regular aspirin use – similar to the risk

    reduction observed in case-control analyses. 172 The authors again identify

    inflammation as plausible mechanism. 173

             Additionally, a study of analgesic medication use and the risk of epithelial

    ovarian cancer in African American women, published in 2016, recognized the

    inconsistency in the literature, “with the majority of studies showing an inverse

    association.” 174 In this study, aspirin use, overall, was associated with a 44% lower

    EOC risk. 175 The authors concluded that this study “supports previous evidence that

    any NSAID use, but not acetaminophen [not an anti-inflammatory agent] is inversely

    associated with EOC risk. 176 These authors also identified inflammation as a


    172
        Trabert et al., “Analgesic Use and Ovarian Cancer Risk: An Analysis in the
    Ovarian Cancer Cohort Consortium,” J Nat Cancer Inst. 111(2): 1-9, at p. 8 (2019)
    (attached as Exhibit 107).
    173
         Id. at p. 2. “Chronic inflammation likely plays a key role in ovarian
    carcinogenesis. Factors associated with epithelial disruption through ovulation,
    inflammation-related exposures such as endometriosis and pelvic inflammatory
    disease, and circulating biomarkers of inflammation have been associated with
    ovarian cancer risk.”)
    174
       Peres et al., “Analgesic medication use and risk of epithelial ovarian cancer in
    African American women,” British J. of Cancer 114: 819-825 (2016) (attached as
    Exhibit 108).2016)
    175
          Id. at p. 819.
    176
          Id. at p. 824.

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    plausible mechanism. These authors also identify inflammation as the plausible

    mechanism. 177 Although research is ongoing regarding the role of anti-inflammatory

    agents in reduction of ovarian cancer risk, these studies support the importance of

    inflammation in the etiology of epithelial ovarian cancer.

          Finally, J&J’s critiques of the evidence on pelvic inflammatory disease

    (“PID”) have no merit. PID is frequently recognized as a risk factor for epithelial

    ovarian cancer, although the data indicates that the association may be specific to

    histologic subtype. A systematic review and pooled analysis published in 2016 found

    that PID was associated with an increased risk of serous and mucinous borderline

    ovarian tumors. 178 The authors concluded that “[a]n association between PID and

    the risk of ovarian tumors is biologically plausible and could be explained by the

    inflammation hypothesis. Inflammation is characterized by the production of free

    radicals, cytokines, prostaglandins, and growth factors with the potential for genetic




    177
       Id. at 820 “Inflammation may play a role in ovarian cancer carcinogenesis through
    the production of toxic oxidants and bioactive substances, increasing the chances of
    DNA damage and mutagenesis. Analgesic drugs, such as aspirin and other
    nonsteroidal anti-inflammatory drugs (NSAIDs), have anti-inflammatory properties
    and have been associated with reduced risks of several malignancies.) (citations
    omitted).
    178
       Rasmussen et al., “Pelvic Inflammatory Disease and the Risk of Ovarian Cancer
    and Borderline Ovarian Tumors: A Pooled Analysis of 13 Case-Control Studies,”
    Am J Epidemiol. 185(1): 8–20 (2017) (attached as Exhibit 109).

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    and epigenetic changes to the DNA, resulting in an increased risk of malignant

    transformation. 179

             Similarly, a large population-based cohort study published in 2018 found a

    statistically significant increased risk of high grade serous carcinoma. 180 The authors

    concluded that their “finding that PID was associated with an increased risk of

    HGSC lends support to the hypothesis that inflammatory processes play a role in the

    development of HGSC.” That PID is associated with ovarian cancer is consistent

    with inflammation from talcum powder also increasing the risk of ovarian.

             D.       THE SCIENTIFIC EVIDENCE SUPPORTS THE OPINION
                      THAT TALCUM POWDER CAUSES OVARIAN CANCER BY
                      LOWERING MUCI ANTIBODIES




    179
          Id. at 14
    180
       Stewart et al., “Risk of high-grade serous ovarian cancer associated with pelvic
    inflammatory disease, parity and breast cancer,” Cancer Epidemiology 55: 110-116
    (2018) (attached as Exhibit 110).

                                              59
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             Citing their own experts’ opinions but no scientific evidence, 181 J&J argues

    that the MUC1 “theory” is unsupported. 182 J&J ignores the peer-reviewed literature

    that describes the role of MUC1 as a plausible inflammatory mechanism by which

    talcum powder exposure can contribute to ovarian cancer.

             “Mucins are proteins involved in the formation of mucous barriers on

    epithelial surfaces.” 183 MUC1 – the surface glycoprotein human mucin 1 – is



    181
       J&J’s repeatedly attempts to persuade the Court by citing the opinions of its own
    experts is improper. All J&J has accomplished in doing so is to illustrate that its
    Daubert challenge is not about methodology but more about winning a proverbial
    “battle of the experts” before it has to present its case to a jury. Of course, such
    battles are for the jury to decide, not the Court. See S.E.C. v. Lucent Techs., Inc., 610
    F. Supp. 2d 342, 351 (D.N.J. 2009) (quoting Oddi v. Ford Motor Co., 234 F.3d 136,
    146 (3d Cir. 2000)); Dzielak v. Whirlpool Corp., No. CV2120089KMJBC, 2017 WL
    1034197, at *26 (D.N.J. Mar. 17, 2017). Lansford-Coaldale Joint Water Auth. v.
    Tonolli Corp., 4 F.3d 1209, 1216 (3d Cir. 1993) (“‘[I]n a battle of the experts, the
    factfinder ‘decide[s] the victor.’”) (alteration in original) (quoting Mendes-Silva v.
    United States, 980 F.2d 1482, 1487 (D.C. Cir. 1993))); Dzielak, 2017 WL 1034197,
    at *26; In re Biogen '755 Patent Litig., No. CV102734CCCJBC, 2018 WL 3586271,
    at *11 (D.N.J. July 26, 2018); Lanzilotti by Lanzilotti v. Merrell Dow Pharm. Inc.,
    No. CIV.A. 82-0183, 1986 WL 7832, at *3 (E.D. Pa. July 10, 1986) (the experts for
    both sides differed as to what interpretations should be given to various data. ‘The
    case was thus a classic battle of the experts, a battle in which the jury must decide
    the victor.’); Tyco Healthcare Grp. LP v. Mut. Pharm. Co., Inc., No.
    07CV1299SRCCLW, 2016 WL 3965201, at *4 (D.N.J. July 22, 2016); In re
    Gabapentin Patent Litig., No. CIV.A. 00-2931, 2011 WL 12516763, at *10 (D.N.J.
    Apr. 8, 2011) (concluding that defendants' critiques of plaintiffs' experts'
    methodology and inconsistent conclusions presented “a battle of the experts, and
    both sides will be permitted to present expert testimony on these issues and to cross-
    examine the other side's expert witnesses.”); Dzielak, 2017 WL 1034197, at *26.
    182
          Def. Mot. at 66-67.
    183
          Health Canada Draft Assessment, at p. 19.

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    expressed in high levels by ovarian cancer. 184 “It is known that women with ovarian

    cancer who have anti-MUC1 antibodies survive longer.” 185 Accordingly, anti-

    MUC1 antibodies appear to have a protective effect against ovarian cancer. 186

                The Cramer et al. 2005 study looked at whether anti-MUC1 antibodies reduce

    the risk of ovarian cancer. 187 The study authors found that the use of talcum powder

    in the perineal area was associated with significantly decreased levels of antibodies

    to MUC1. 188 Cramer later opined that “many risk factors for ovarian cancer may be

    explained by their ability to raise or lower MUC1 immunity.” 189 Because talcum

    powder use was “a factor that lowered anti-MUC1 antibodies,” Cramer concluded

    that “rather than a direct carcinogenic effect on ovarian epithelium, immune

    dysregulation involving MUC1 may be induced by chronic talc use that may lower

    protective immunity.” 190




    184
          Id.; Cramer et al. (2007), at p. 500.
    185
          Cramer et al. (2007), at p. 500.
    186
          Health Canada Draft Assessment, at p. 19.
    187
        Cramer et al., “Conditions Associated with Antibodies Against the Tumor-
    Associated Antigen MUC1 and Their Relationship to Risk for Ovarian Cancer,”
    Cancer Epidemiol Biomarkers Prev 14(5): 1125-1131, at p. 1125 (2005) (attached
    as Exhibit 111).
    188
          Id. at 1128.
    189
          Cramer et al. (2007), at 501.
    190
          Id.

                                                  61
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             J&J ignores this evidence and instead criticizes Dr. Zelikoff’s reliance on

    Karageorgi et al. (2010). 191 J&J claims that Karageorgi (2010) is inapplicable

    because that study was about endometrial cancer. But the results of Karageorgi

    (2010) related to MUC1 were not unique to endometrial cancer – they were

    applicable to MUC1 generally. The study authors concluded that “[u]sers of talcum

    powder have lower plasma levels of anti-MUC1 antibodies than non-users.” 192

    Karageorgi also found a statistically significant increase risk of endometrial cancer

    associated with perineal talcum powder used and proposed an inflammatory

    mechanism. 193 This conclusion is consistent with Cramer et al. 2005, Cramer et al.

    2007, and Health Canada, which Dr. Zelikoff considered. 194

             Accordingly, the PSC’s experts’ opinions regarding MUC1 are reliable and

    supported by the evidence.


    191
          Def. Mot. at 67.
    192
       Karageorgi et al., “Perineal use of talcum powder and endometrial cancer risk,”
    Cancer Epidemiol Biomarkers Prev. 19(5): 1269-1275, at p. 1273 (2010) (attached
    as Exhibit 112).
    193
        “Other mechanistic factors that may come into play include chronicity of
    inflammation (34) and timing of exposure with regard to the phases of the uterine
    cycle. Any inflammation initiated by genital application of talc is likely to be
    sustained, since studies indicate that women start using talcum powder at an early
    age (35) and continue using it for decades (14). The endometrial tissue is highly
    proliferative and regenerates with every menstrual cycle. Chronic inflammation
    following long duration of use of talcum powder may be sufficient to cause
    carcinogenesis despite the monthly shedding of the endometrial lining.” Id.
    194
          Zelikoff Rep. at reliance list; Cramer et al. 2005 is also cited by Karageorgi et al.

                                                 62
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    V.       DR. ZELIKOFF’S OPINIONS ARE RELIABLE

             Finally, J&J seeks to exclude Dr. Zelikoff’s entire opinion as unreliable due

    to what J&J characterizes as “rampant plagiarism.” 195 Dr. Zelikoff is a well-qualified

    toxicologist 196 and, as explained above, her opinions on biological plausibility are

    reliable. Her admitted oversight in fully quoting from sources identified in her expert

    report does not negate the reliability of her opinions.

             An accusation of plagiarism goes to an expert’s credibility, not admissibility,

    and is “better left to the trier of fact.” 197 Absent proof that the alleged plagiarism has

    affected the reliability of the expert’s opinion, the opinion should be admitted. 198




    195
          Def. Mot. at 69.
    196
       See The Plaintiffs’ Steering Committee’s Memorandum In Response And
    Opposition To Johnson & Johnson And Johnson & Johnson Consumer Inc.’s Motion
    To Exclude Plaintiffs’ Experts’ Opinions Regarding Alleged Heavy Metals And
    Fragrances In Johnson’s Baby Powder And Shower-To-Shower.
    197
       Legier & Materne v. Great Plains Software, Inc., No. 03-0278, 2005 U.S. Dist.
    LEXIS 17686, *10-12 (E.D. La. Aug. 3, 2005); see also Ji v. Bose Corp., 538 F.
    Supp. 2d 354, 359 (D. Mass. 2008) (citing Daubert v. Merrell Dow Pharm., Inc.,
    509 U.S. 579 (1993) (“personal reliability questions …go to…credibility and are for
    the jury to decide.”).
    198
       See In re Processed Egg Products Antitrust Litigation No. 08-MD-2002, 2016
    WL 4547207, at *5 (E.D. Pa. Aug. 31, 2016) (“some quotations alone are not enough
    to call into question the reliable of [the expert]’s entire report”); GWTP Investments,
    L.P. v. SES Americom, Inc., No. 3:04-CV-1383-L, 2007 WL 7630459, at *5 (N.D.
    Tex. Aug. 3, 2007) (refusing to exclude expert opinion based on plagiarism where
    defendant “has not shown that it impacts the reliability” of the opinion).

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             Here, the portions of Dr. Zelikoff’s alleged to be plagiarized are background

    information and points of common knowledge pulled from various sources. 199 J&J

    fails to show how this makes her opinions as a whole unreliable. Dr. Zelikoff’s

    analysis of the facts related to this case and her opinions are all her own. 200 Dr.

    Zelikoff’s credibility should be left to the jury.

             Moore v. BASF Corp., No. 11-1001, 2012 WL 6002831, at *7 (E.D. La. Nov.

    30, 2012), relief on by J&J, is distinguishable because in Moore, the expert’s

    “conclusions as to the [required] warnings …were copied verbatim from the report

    of another expert.” Id. at *20. Dr. Zelikoff’s analysis and conclusions as written in

    her report are all her own. The expert in Moore also offered dishonest testimony that

    the report was his own writing and that he had not consulted with other experts. Id.

    To the contrary, Dr. Zelikoff testified that her analysis and conclusions were her own

    and admitted and explained her citation errors.

    VI.      CONCLUSION

             For the foregoing reasons, J&J’s motion to exclude the PSC’s experts’

    opinions related to biological plausibility should be denied in its entirety.




    199
          See Zelikoff Dep. at 75:22-76:7, 109:24-111:22, 119:22-121:13.
    200
          Id. at 95:7-95:14.

                                               64
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